Case
Case1:25-cv-00240-ACR
     2:25-cv-00241-BHS   Document
                         Document72-84
                                  73-6   Filed
                                          Filed03/13/25
                                                03/07/25   Page
                                                           Page11of
                                                                  of64
                                                                     64




    EXHIBIT A
        Case
        Case1:25-cv-00240-ACR
             2:25-cv-00241-BHS          Document
                                        Document72-84
                                                 73-6        Filed
                                                              Filed03/13/25
                                                                    03/07/25    Page
                                                                                Page22of
                                                                                       of64
                                                                                          64




                            DOD INSTRUCTION 1332.14
                 ENLISTED ADMINISTRATIVE SEPARATIONS

Originating Component:       Office of the Under Secretary of Defense for Personnel and Readiness

Effective:                   August 1, 2024

Releasability:               Cleared for public release. Available on the Directives Division Website
                             at https://www.esd.whs.mil/DD/.

Reissues and Cancels:        DoD Instruction 1332.14, “Enlisted Administrative Separations,”
                             January 27, 2014, as amended
Incorporates:                Enlisted separation policy as outlined in Directive-type Memorandum
                             19-008, “Expedited Screening Protocol,” July 31, 2019, as amended

Approved by:                 Ashish S. Vazirani, Performing the Duties of the Under Secretary of
                             Defense for Personnel and Readiness


Purpose: In accordance with the authority in DoD Directive (DoDD) 5124.02, this issuance:
• Establishes policy, assigns responsibilities, and provides procedures governing administrative
separation of enlisted Service members from the Military Services.
• Supersedes any conflicting guidance in Directive-type Memorandum (DTM) 19-008 regarding
enlisted separation policy.
       Case
       Case1:25-cv-00240-ACR
            2:25-cv-00241-BHS                          Document
                                                       Document72-84
                                                                73-6                  Filed
                                                                                       Filed03/13/25
                                                                                             03/07/25              Page
                                                                                                                   Page33of
                                                                                                                          of64
                                                                                                                             64

                                                                                                   DoDI 1332.14, August 1, 2024


                                                  TABLE OF CONTENTS
SECTION 1: GENERAL ISSUANCE INFORMATION .............................................................................. 6
   1.1. Applicability. .................................................................................................................... 6
   1.2. Policy. ............................................................................................................................... 6
SECTION 2: RESPONSIBILITIES ......................................................................................................... 8
   2.1. Assistant Secretary of Defense for Manpower and Reserve Affairs (ASD(M&RA)). ..... 8
   2.2. Director, Department of Defense Human Resources Activity.......................................... 8
   2.3. Secretaries of the Military Departments. .......................................................................... 8
SECTION 3: REASONS FOR SEPARATION ........................................................................................ 10
   3.1. Expiration of Service Obligation. ................................................................................... 10
       a. Basis. ............................................................................................................................ 10
       b. Service Characterization or Separation Description. ................................................... 10
   3.2. Selected Changes in Service Obligations. ...................................................................... 10
       a. Basis. ............................................................................................................................ 10
       b. Service Characterization or Separation Description. ................................................... 11
   3.3. U.S. Government Convenience....................................................................................... 11
       a. Basis. ............................................................................................................................ 11
       b. Service Characterization or Separation Description. ................................................... 14
       c. Procedures. ................................................................................................................... 14
   3.4. Disability. ........................................................................................................................ 15
       a. Basis. ............................................................................................................................ 15
       b. Service Characterization or Separation Description. ................................................... 15
       c. Procedures. ................................................................................................................... 15
   3.5. Defective Enlistments and Inductions. ........................................................................... 15
       a. Minority........................................................................................................................ 15
       b. Erroneous Entry into the Military Services. ................................................................ 16
       c. Defective Enlistment Agreements................................................................................ 17
       d. Fraudulent Entry into the Military Services................................................................. 18
       e. Separation from the Delayed Entry Program (DEP). ................................................... 19
   3.6. Entry-Level Performance and Conduct. ......................................................................... 20
       a. Basis. ............................................................................................................................ 20
       b. Counseling and Rehabilitation. .................................................................................... 21
       c. Service Characterization or Separation Description. ................................................... 21
       d. Procedures. ................................................................................................................... 21
   3.7. Unsatisfactory Performance. ........................................................................................... 21
       a. Basis. ............................................................................................................................ 21
       b. Counseling and Rehabilitation. .................................................................................... 21
       c. Service Characterization or Separation Description. ................................................... 22
       d. Procedures. ................................................................................................................... 22
   3.8. Drug Misuse Rehabilitation. ........................................................................................... 22
       a. Basis. ............................................................................................................................ 22
       b. Provision Clarification. ................................................................................................ 22
       c. Service Characterization or Separation Description. ................................................... 22
       d. Procedures. ................................................................................................................... 23


TABLE OF CONTENTS                                                                                                                              2
       Case
       Case1:25-cv-00240-ACR
            2:25-cv-00241-BHS                         Document
                                                      Document72-84
                                                               73-6                   Filed
                                                                                       Filed03/13/25
                                                                                             03/07/25             Page
                                                                                                                  Page44of
                                                                                                                         of64
                                                                                                                            64

                                                                                                  DoDI 1332.14, August 1, 2024


   3.9. Alcohol Misuse Rehabilitation. ...................................................................................... 23
       a. Basis. ............................................................................................................................ 23
       b. Provision Clarification. ................................................................................................ 23
       c. Service Characterization or Separation Description. ................................................... 23
       d. Procedures. ................................................................................................................... 23
   3.10. Misconduct.................................................................................................................... 24
       a. Basis. ............................................................................................................................ 24
       b. Counseling and Rehabilitation. .................................................................................... 25
       c. Service Characterization or Separation Description. ................................................... 25
       d. Procedures. ................................................................................................................... 25
   3.11. Separation in Lieu of Trial by Court-Martial. ............................................................... 25
       a. Basis. ............................................................................................................................ 25
       b. Service Characterization or Separation Description. ................................................... 26
       c. Procedures. ................................................................................................................... 26
   3.12. Security. ........................................................................................................................ 27
       a. Basis. ............................................................................................................................ 27
       b. Service Characterization or Separation Description. ................................................... 27
       c. Procedures. ................................................................................................................... 27
   3.13. Unsatisfactory Participation in the Ready Reserve....................................................... 28
       a. Basis. ............................................................................................................................ 28
       b. Service Characterization or Separation Description. ................................................... 28
       c. Procedures. ................................................................................................................... 28
   3.14. Secretarial Plenary Authority........................................................................................ 28
       a. Basis. ............................................................................................................................ 28
       b. Service Characterization or Separation Description. ................................................... 28
       c. Procedures. ................................................................................................................... 28
   3.15. Reasons Established by the Military Departments. ...................................................... 29
       a. Basis. ............................................................................................................................ 29
       b. Counseling and Rehabilitation. .................................................................................... 29
       c. Service Characterization or Separation Description. ................................................... 29
       d. Procedures. ................................................................................................................... 29
   3.16. Physical Fitness or Body Composition Standards. ....................................................... 29
       a. Basis. ............................................................................................................................ 29
       b. Counseling and Rehabilitation. .................................................................................... 29
       c. Service Characterization or Separation Description. ................................................... 30
       d. Procedures. ................................................................................................................... 30
SECTION 4: GUIDELINES ON CHARACTERIZATION AND SEPARATION ............................................ 31
   4.1. Separation. ...................................................................................................................... 31
       a. Scope. ........................................................................................................................... 31
       b. Guidance. ..................................................................................................................... 31
       c. Limitations on Separation Actions. .............................................................................. 32
   4.2. Suspension of Separation. ............................................................................................... 33
       a. Suspension.................................................................................................................... 33
       b. Action During the Period of Suspension. .................................................................... 33
   4.3. Service Characterization or Separation Description. ...................................................... 34


TABLE OF CONTENTS                                                                                                                             3
       Case
       Case1:25-cv-00240-ACR
            2:25-cv-00241-BHS                          Document
                                                       Document72-84
                                                                73-6                  Filed
                                                                                       Filed03/13/25
                                                                                             03/07/25              Page
                                                                                                                   Page55of
                                                                                                                          of64
                                                                                                                             64

                                                                                                   DoDI 1332.14, August 1, 2024


       a. Types of Service Characterization or Separation Description. .................................... 34
       b. Characterization of Service. ......................................................................................... 34
       c. Uncharacterized Separation. ........................................................................................ 37
SECTION 5: PROCEDURES FOR SEPARATION .................................................................................. 39
   5.1. Scope. .............................................................................................................................. 39
   5.2. Notification Procedures. ................................................................................................. 39
       a. Notice. .......................................................................................................................... 39
       b. Additional Notice Requirements.................................................................................. 40
       c. Response. ..................................................................................................................... 41
       d. Separation Authority. ................................................................................................... 41
   5.3. Administrative Board Procedures. .................................................................................. 42
       a. Notice. .......................................................................................................................... 42
       b. Additional Notice Requirements.................................................................................. 43
       c. Response. ..................................................................................................................... 43
       d. Waiver. ......................................................................................................................... 44
       e. Hearing Procedures. ..................................................................................................... 44
       f. Separation Authority..................................................................................................... 48
   5.4. Additional Provisions Concerning Enlisted Service Members Confined by Civil
       Authorities......................................................................................................................... 49
   5.5. Additional Requirements for Certain Enlisted Service Members of Reserve
       Components. ..................................................................................................................... 50
       a. Enlisted Service members of Reserve Components not on Active Duty. .................... 50
       b. Transfer to the IRR. ..................................................................................................... 51
       c. Notification of Administrative Board. ......................................................................... 51
       d. Service Expiration........................................................................................................ 51
       e. Notice to Member. ....................................................................................................... 51
   5.6. Additional Requirements for Enlisted Service Members Beyond Military Control by
       Reason of Unauthorized Absence. .................................................................................... 52
       a. Determination of Applicability. ................................................................................... 52
       b. Notice. .......................................................................................................................... 52
       c. Separation Limitations for Reserve Component Enlisted Service Members. .............. 52
   5.7. Additional Requirements for Administrative Separation Processing Timelines. ........... 53
   5.8. Additional Requirements for Informing Enlisted Service Members About Separation
       Policy. ............................................................................................................................... 53
   5.9. Additional Requirements for Pre-Separation Health Assessments. ................................ 54
   5.10. Additional Counseling Required for a Discharge Under Other than Honorable
       Conditions Resulting from a Continuous, Unauthorized Absence of 180 Days or More. 55
   5.11. Additional Requirements for Involuntary Administrative Separation of Enlisted
       Service Members Who Made an Unrestricted Report of Sexual Assault. ........................ 55
   5.12. Additional Requirement to Process for Administrative Separation of Enlisted Service
       Members Convicted of Certain Sexual Offenses. ............................................................. 55
   5.13. Additional Requirement for Members Receiving an Other than Honorable
       Characterization of Service. .............................................................................................. 56
SECTION 6: PROCEDURES FOR EARLY RELEASE OF ENLISTED SERVICE MEMBERS FOR COLLEGE,
VOCATIONAL, OR TECHNICAL SCHOOL ENROLLMENT ................................................................... 57


TABLE OF CONTENTS                                                                                                                              4
       Case
       Case1:25-cv-00240-ACR
            2:25-cv-00241-BHS                          Document
                                                       Document72-84
                                                                73-6                  Filed
                                                                                       Filed03/13/25
                                                                                             03/07/25              Page
                                                                                                                   Page66of
                                                                                                                          of64
                                                                                                                             64

                                                                                                   DoDI 1332.14, August 1, 2024


   6.1. Scope. .............................................................................................................................. 57
   6.2. Procedures. ...................................................................................................................... 57
       a. General. ........................................................................................................................ 57
       b. Criteria. ........................................................................................................................ 58
GLOSSARY ..................................................................................................................................... 59
   G.1. Acronyms. ...................................................................................................................... 59
   G.2. Definitions...................................................................................................................... 59
REFERENCES .................................................................................................................................. 62
FIGURES
Figure 1. Unfavorable ESP Notice............................................................................................... 20




TABLE OF CONTENTS                                                                                                                              5
     Case
     Case1:25-cv-00240-ACR
          2:25-cv-00241-BHS            Document
                                       Document72-84
                                                73-6        Filed
                                                             Filed03/13/25
                                                                   03/07/25     Page
                                                                                Page77of
                                                                                       of64
                                                                                          64

                                                                    DoDI 1332.14, August 1, 2024


                 SECTION 1: GENERAL ISSUANCE INFORMATION

1.1. APPLICABILITY.

This issuance applies to OSD, the Military Departments, the Office of the Chairman of the Joint
Chiefs of Staff and the Joint Staff, the Combatant Commands, the Office of Inspector General of
the Department of Defense, the Defense Agencies, the DoD Field Activities, and all other
organizational entities within the DoD (referred to collectively in this issuance as the “DoD
Components”).


1.2. POLICY.

    a. The readiness of the Military Services is preserved by maintaining high standards of
performance, conduct, and discipline. Separation promotes the readiness of the Military Services
by providing an orderly means to:

       (1) Evaluate the suitability of people to serve in the enlisted ranks of the Military
Services based on their ability to meet required performance, conduct, and disciplinary
standards.

        (2) Maintain standards of performance, conduct, and discipline through characterization
of service in a system that emphasizes the importance of honorable service.

       (3) Achieve authorized force levels and grade distributions.

       (4) Provide an orderly means of discharge for enlisted personnel.

    b. Separations are used to strengthen the concept that military service is a unique calling,
different from that of a civilian occupation. The acquisition of military status, whether through
enlistment or induction, involves an individual’s unconditional commitment to the United States,
their Military Service, fellow citizens, and fellow Service members.

    c. Organizing, training, and equipping newly enlisted Service members represent a
considerable investment. Separation of enlisted Service members before completion of their
obligated service periods results in a significant loss of investment and increased need for
recruitment.

    d. DoD provides enlisted Service members with the training, motivation, and professional
leadership to enable them to meet required standards of performance, conduct, and discipline.

       (1) Reasonable efforts should be made by the chain of command to:

              (a) Identify enlisted Service members who seem to be candidates for early
separation.




SECTION 1: GENERAL ISSUANCE INFORMATION                                                           6
     Case
     Case1:25-cv-00240-ACR
          2:25-cv-00241-BHS          Document
                                     Document72-84
                                              73-6         Filed
                                                            Filed03/13/25
                                                                  03/07/25     Page
                                                                               Page88of
                                                                                      of64
                                                                                         64

                                                                    DoDI 1332.14, August 1, 2024


            (b) Work to improve their chances for retention through counseling, retraining, and
rehabilitation.

        (2) Enlisted Service members who do not demonstrate the commitment or potential for
further service should be separated.

   e. Enlisted Service members may be discharged or released from active service before
expiration of their obligated service to further their education at a college, university, or
vocational or technical school when it is determined that discharge or release is appropriate.




SECTION 1: GENERAL ISSUANCE INFORMATION                                                           7
     Case
     Case1:25-cv-00240-ACR
          2:25-cv-00241-BHS          Document
                                     Document72-84
                                              73-6         Filed
                                                            Filed03/13/25
                                                                  03/07/25    Page
                                                                              Page99of
                                                                                     of64
                                                                                        64

                                                                   DoDI 1332.14, August 1, 2024


                           SECTION 2: RESPONSIBILITIES

2.1. ASSISTANT SECRETARY OF DEFENSE FOR MANPOWER AND RESERVE
AFFAIRS (ASD(M&RA)).

Under the authority, direction, and control of the Under Secretary of Defense for Personnel and
Readiness, the ASD(M&RA):

   a. Develops, maintains, and oversees implementation of policy and guidance for enlisted
administrative separations.

   b. Adjudicates exceptions to policy requests for enlisted administrative separations.

   c. Establishes appropriate separation reporting requirements.


2.2. DIRECTOR, DEPARTMENT OF DEFENSE HUMAN RESOURCES ACTIVITY.

Under the authority, direction, and control of the Under Secretary of Defense for Personnel and
Readiness, the Director, Department of Defense Human Resources Activity:

  a. Provides data quality control, analysis, reporting, and inquiry capabilities on all Service
member separation data in accordance with DoD Instruction (DoDI) 7730.68.

   b. Acts as the official source of such related data for use throughout the DoD, by other
government agencies, the Congress, and for appropriate public release by the Assistant to the
Secretary of Defense for Public Affairs.

   c. Distributes, as applicable and in accordance with DoDI 1336.01, personnel service and
separation data to:

       (1) Department of Veterans Affairs.

       (2) Department of Labor.

       (3) States’ or territories’ Departments of Veteran Affairs to ensure the adjudication of
veteran’s benefits.


2.3. SECRETARIES OF THE MILITARY DEPARTMENTS.

The Secretaries of the Military Departments:

    a. Develop and maintain Service policies, standards, and procedures in accordance with this
instruction to provide clear guidance and ensure uniform implementation of enlisted separation
policy to the extent practicable for an administrative process based on command discretion.

   b. Ensure that:


SECTION 2: RESPONSIBILITIES                                                                        8
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-84
                                              73-6         Filed
                                                            Filed03/13/25
                                                                  03/07/25     Page
                                                                               Page10
                                                                                    10of
                                                                                       of64
                                                                                          64

                                                                     DoDI 1332.14, August 1, 2024


       (1) Enlisted Service member separation policies, standards, and procedures are applied
consistently.

       (2) Fact-finding inquiries are conducted properly.

       (3) Abuses of authority do not occur.

        (4) Failure to follow the provisions contained in this instruction results in appropriate
corrective action.

    c. Establish processing time goals for the types of administrative separations authorized by
this instruction.

    d. Prescribe appropriate internal procedures for periodically informing enlisted Service
members about separation policies. Ensure enlisted Service members are provided required
information, as described in the procedures of this instruction, during the separation process.

   e. Provide separation data to the Director, Department of Defense Human Resources
Activity, in accordance with DoDI 7730.68.




SECTION 2: RESPONSIBILITIES                                                                         9
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-84
                                              73-6         Filed
                                                            Filed03/13/25
                                                                  03/07/25    Page
                                                                              Page11
                                                                                   11of
                                                                                      of64
                                                                                         64

                                                                    DoDI 1332.14, August 1, 2024


                     SECTION 3: REASONS FOR SEPARATION

3.1. EXPIRATION OF SERVICE OBLIGATION.

   a. Basis.

    An enlisted Service member may be separated upon expiration of enlistment or fulfillment of
service obligation. This includes separation authorized by the Secretary of the Military
Department concerned when the enlisted Service member is:

       (1) Within 30 days of the date of expiration of term of service.

        (2) Serving outside the continental United States in a location other than their
jurisdiction or domicile.

   b. Service Characterization or Separation Description.

   Honorable, unless the separation is under one of the following circumstances:

       (1) An entry-level separation is required in accordance with Paragraph 4.3.

       (2) Characterization of service as general (under honorable conditions) is warranted in
accordance with Paragraph 4.3. based on numerical scores accumulated in a formal, Service-
wide rating system that evaluates conduct and performance on a regular basis.

      (3) Another characterization is warranted upon discharge from the Individual Ready
Reserve (IRR) in accordance with Paragraph 5.5.


3.2. SELECTED CHANGES IN SERVICE OBLIGATIONS.

   a. Basis.

   An enlisted Service member may be separated for the following reasons:

       (1) General demobilization or reduction in authorized strength.

        (2) Early separation of personnel under a program established by the Secretary of the
Military Department concerned. A copy of the document authorizing such program is forwarded
to the Office of the ASD(M&RA) at least 45 days before the desired date of announcement of an
involuntary separation board or program.

      (3) Acceptance of an active-duty commission or appointment, or acceptance into a
program leading to such commission or appointment in any branch of the Military Services.

       (4) Immediate enlistment or reenlistment.

       (5) Inter-Service transfer in accordance with DoDI 1300.04.


SECTION 3: REASONS FOR SEPARATION                                                                10
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS          Document
                                    Document72-84
                                             73-6         Filed
                                                           Filed03/13/25
                                                                 03/07/25      Page
                                                                               Page12
                                                                                    12of
                                                                                       of64
                                                                                          64

                                                                   DoDI 1332.14, August 1, 2024


   b. Service Characterization or Separation Description.

   Honorable, unless the separation is under one of the following circumstances:

       (1) An entry-level separation is required in accordance with Paragraph 4.3.

       (2) Characterization of service as general (under honorable conditions) is warranted in
accordance with Paragraph 4.3. based on numerical scores accumulated in a formal, Service-
wide rating system that evaluates conduct and performance on a regular basis.

       (3) Another characterization is warranted upon discharge from the IRR in accordance
with Paragraph 5.5.


3.3. U.S. GOVERNMENT CONVENIENCE.

   a. Basis.

    An enlisted Service member may be separated for convenience of the U.S. Government for
these reasons:

       (1) Early Release to Further Education.

        An enlisted Service member may be separated to attend a college, university, vocational
school, or technical school under guidelines outlined in Section 6.

       (2) Early Release to Accept Public Office.

       An enlisted Service member may be separated to accept public office only under
circumstances authorized by the Military Department concerned and in accordance with DoDD
1344.10.

       (3) Dependency or Hardship.

       Undue hardship does not necessarily exist solely because of altered present or expected
income, family separation, or other inconveniences normally incident to military service. Upon
request of the enlisted Service member and concurrence of the separation authority, separation
may be directed when genuine dependency or undue hardship exists in accordance with
Paragraph 4.1. and under these circumstances:

           (a) The hardship or dependency is not temporary.

           (b) Conditions have arisen or have been aggravated to an excessive degree since
entry into military service, and the enlisted Service member has made every reasonable effort to
remedy the situation.

           (c) The administrative separation will eliminate or alleviate the condition.

           (d) There are no other means of alleviation reasonably available.


SECTION 3: REASONS FOR SEPARATION                                                                11
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-84
                                              73-6         Filed
                                                            Filed03/13/25
                                                                  03/07/25     Page
                                                                               Page13
                                                                                    13of
                                                                                       of64
                                                                                          64

                                                                    DoDI 1332.14, August 1, 2024


        (4) Pregnancy or Childbirth.

        An enlisted Service member may be separated upon request due to pregnancy or
childbirth, unless retention is determined to be in the best interests of the Military Service in
accordance with Paragraph 4.1. and guidance established by the Military Department concerned.

        (5) Parenthood.

       An enlisted Service member may be separated by reason of parenthood in accordance
with Paragraph 4.1. if it is determined that the enlisted Service member is unable to satisfactorily
perform their duties or is unavailable for worldwide assignment or deployment because of
parenthood. Before involuntary separation under this provision, the notification procedure in
Paragraph 5.2. will be used. Separation processing may not be initiated until the enlisted Service
member has been formally counseled concerning the basis for proposed separation and has been
afforded an opportunity to relieve Service concerns, as reflected in appropriate counseling or
personnel records.

        (6) Conscientious Objection.

       An enlisted Service member may be separated if authorized in accordance with DoDI
1300.06.

        (7) Surviving Family Member.

       An enlisted Service member may be separated if authorized in accordance with DoDI
1315.15.

        (8) Conditions and Circumstances not Constituting a Physical or Mental Disability.

            (a) In accordance with DoDI 1332.18, the Secretary of the Military Department
concerned may authorize separation based on congenital or developmental defects not
compensable under the Department of Veterans Affairs Schedule for Rating Disabilities if
defects, circumstances, or conditions interfere with assignment to, or performance of, duty.
Separation processing is not initiated until the enlisted Service member:

               1. Is formally counseled on the basis for proposed separation and given an
opportunity to correct it.

               2. Is counseled in writing that the interfering condition does not qualify as a
disability.

            (b) The Secretary of the Military Department concerned will not authorize
involuntary administrative separation based on a determination that the enlisted Service member
is unsuitable for deployment or worldwide assignment because of a medical condition if a
physical evaluation board has determined the member to be fit for duty for the same medical
condition, unless the administrative separation is approved by the Secretary of Defense. If the
Secretary of the Military Department concerned has reason to believe the medical condition
considered by the physical evaluation board renders the enlisted Service member unsuitable for


SECTION 3: REASONS FOR SEPARATION                                                                12
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-84
                                              73-6         Filed
                                                            Filed03/13/25
                                                                  03/07/25      Page
                                                                                Page14
                                                                                     14of
                                                                                        of64
                                                                                           64

                                                                     DoDI 1332.14, August 1, 2024


continued military service, the Secretary may direct the physical evaluation board to reevaluate
the member.

               1. If, based on re-evaluation by a physical evaluation board, an enlisted Service
member is determined to be unfit to perform the duties of their office, grade, rank, or rating, they
may be retired or separated for physical disability consistent with Chapter 61 of Title 10, United
States Code (U.S.C.).

                 2. A “fit for duty” finding by a physical evaluation board does not automatically
entitle an enlisted Service member to reenlist upon completion of their current period of required
active service. However, an enlisted Service member may not be denied reenlistment based on
the same condition for which a physical evaluation board previously found them fit for duty.

             (c) Separation based on any mental health disorder not constituting a physical
disability is not authorized unless:

               1. A diagnosis by an authorized mental health provider concludes that the
enlisted Service member’s disorder is so severe that their ability to function effectively in the
military environment is significantly impaired. The diagnosis must be conducted:

                   a. By an authorized mental health provider as defined in DoDI 6490.04.

                 b. Using the American Psychiatric Association’s Diagnostic and Statistical
Manual of Mental Disorders.

                   c. In accordance with procedures established by the Military Department
concerned.

               2. The enlisted Service member has been formally counseled in writing on the
basis for proposed separation as reflected in appropriate counseling or personnel records and has
been afforded an opportunity to resolve it.

               3. The enlisted Service member has been counseled in writing on the diagnosis of
a personality disorder, or other mental disorder not constituting a physical disability.

             4. For enlisted Service members who have served or are currently serving in
imminent danger pay areas, a diagnosis of a mental disorder not constituting a physical disability
will:

                   a. Be supported by a peer or higher-level mental health professional.

                   b. Be endorsed by the Surgeon General of the Military Department
concerned.

                  c. Address post-traumatic stress disorder (PTSD) and other mental illness co-
morbidity. Unless found fit for duty by the disability evaluation system, a separation for a
mental disorder not constituting a physical disability is not authorized if service-related PTSD is
also diagnosed.


SECTION 3: REASONS FOR SEPARATION                                                                   13
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-84
                                              73-6         Filed
                                                            Filed03/13/25
                                                                  03/07/25     Page
                                                                               Page15
                                                                                    15of
                                                                                       of64
                                                                                          64

                                                                     DoDI 1332.14, August 1, 2024


               5. For enlisted Service members who have made an unrestricted report of sexual
assault or who have self-disclosed that they are the victim of a sex-related offense, an intimate
partner violence-related offense, or a spousal-abuse offense during service, a diagnosis of a
mental health condition not constituting a physical disability will be supported by a peer or
higher-level mental health professional and endorsed by the Surgeon General of the Military
Department concerned.

            (d) Separation for a mental health disorder not constituting a physical disability is not
appropriate, nor should it be pursued when separation is warranted based on unsatisfactory
performance or misconduct. In such circumstances, the enlisted Service member should not be
separated under Paragraph 3.3.a.(8) regardless of the existence of a mental health disorder not
constituting a disability.

            (e) Nothing in Paragraph 3.3.a.(8) precludes separation of an enlisted Service
member who has a condition or circumstance not constituting a physical disability under any
other basis described in Paragraph 3.3.a. or for any other reason authorized by this instruction.

             (f) Before initiating involuntary separation under the provisions in Paragraph
3.3.a.(8), the enlisted Service member will be notified following the procedures in Paragraph 5.2.
Documentation must include evidence that the enlisted Service member is unable to function
effectively because of a mental health disorder not constituting a physical disability.

           (g) The reasons designated by the Secretary of the Military Department concerned
will be separately reported.

       (9) Additional Grounds.

        The Secretary of the Military Department concerned may provide additional grounds for
separation for the convenience of the U.S. Government. A copy of the document authorizing
such grounds will be forwarded to the ASD(M&RA) at least 45 days before the desired date of
announcement of an involuntary separation board or program.

   b. Service Characterization or Separation Description.

   Honorable, unless the separation is under one of the following circumstances:

       (1) An entry-level separation is required in accordance with Paragraph 4.3.

       (2) The characterization of service is general (under honorable conditions) as warranted
in accordance with Paragraph 4.3.

   c. Procedures.

        (1) The narrative reason for the separation, discharge, or release of an enlisted Service
member when the basis for the separation, discharge, or release is a mental health condition not
constituting a physical disability must be “condition, not a disability.” The appropriate
separation program designator code is used in accordance with DoDI 1336.01.



SECTION 3: REASONS FOR SEPARATION                                                                   14
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-84
                                              73-6         Filed
                                                            Filed03/13/25
                                                                  03/07/25     Page
                                                                               Page16
                                                                                    16of
                                                                                       of64
                                                                                          64

                                                                     DoDI 1332.14, August 1, 2024


         (2) Procedural requirements may be established by the Secretary of the Military
Department concerned, subject to procedures established in Paragraph 4.3. Before characterizing
the service as general (under honorable conditions), the Military Service concerned will notify
the enlisted Service member, following the procedures in Paragraph 5.2., of the specific factors
in their service record that warrant such a characterization. However, such notice and procedures
are not required when the characterization of service as general (under honorable conditions) is
based upon numerical scores accumulated in a formal, Service-wide rating system that evaluates
conduct and performance on a regular basis.


3.4. DISABILITY.

   a. Basis.

   An enlisted Service member may be separated or retired for disability under the provisions of
Chapter 61 of Title 10, U.S.C.

   b. Service Characterization or Separation Description.

   Honorable, unless:

       (1) An entry-level separation is required in accordance with Paragraph 4.3.; or

       (2) Characterization of service as general (under honorable conditions) is warranted in
accordance with Paragraph 4.3.

   c. Procedures.

   The Military Departments may establish procedural requirements for separation or retirement
due to disabilities consistent with Chapter 61 of Title 10, U.S.C., and DoDI 1332.18. If
separation is recommended, these requirements apply before characterization of service as
general (under honorable conditions):

       (1) The Military Department concerned will notify the enlisted Service member,
following the procedures in Paragraph 5.2., of the specific factors in their service record that
warrant such a characterization.

       (2) Such notice is not required when the characterization of service as general (under
honorable conditions) is warranted based on numerical scores accumulated in a formal, Service-
wide rating system that evaluates conduct and performance on a regular basis.


3.5. DEFECTIVE ENLISTMENTS AND INDUCTIONS.

   a. Minority.

       (1) Basis.




SECTION 3: REASONS FOR SEPARATION                                                                  15
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS          Document
                                    Document72-84
                                             73-6         Filed
                                                           Filed03/13/25
                                                                 03/07/25     Page
                                                                              Page17
                                                                                   17of
                                                                                      of64
                                                                                         64

                                                                     DoDI 1332.14, August 1, 2024


        An enlisted Service member will be separated based on being a minor at the time of
enlistment, induction, or extension of enlistment under the guidance in Paragraph 4.1. and this
section.

           (a) Under Age 17.

          If an enlisted Service member is under the age of 17, their enlistment is void, and the
Service member will be separated.

           (b) Age 17.

            An enlisted Service member will be separated in accordance with Section 1170 of
Title 10, U.S.C., except when the enlisted Service member is retained for the purpose of trial by
court-martial, in these circumstances:

               1. There is evidence satisfactory to the Secretary of the Military Department
concerned that the enlisted Service member is under 18 years of age.

               2. The enlisted Service member enlisted without the written consent of their
parent or guardian.

               3. An application for the enlisted Service member’s separation is submitted to the
Secretary of the Military Department concerned by the parent or guardian within 90 days of the
Service member’s enlistment.

       (2) Service Characterization or Separation Description.

       An enlisted Service member separated in accordance with Paragraph 3.5.a.(1)(a) will
receive an order of release from the custody and control of the Military Service by reason of void
enlistment or induction. The separation of an enlisted Service member in accordance with
Paragraph 3.5.a.(1)(b) will be described as an entry-level separation.

       (3) Procedures.

       The notification procedures in Paragraph 5.2. will be used.

   b. Erroneous Entry into the Military Services.

       (1) Basis.

       An enlisted Service member may be separated based on an erroneous enlistment,
induction, or extension of enlistment following the guidance in Paragraph 4.1. An enlistment,
induction, or extension of enlistment is erroneous if:

            (a) It would not have occurred if relevant facts were known by the U.S. Government
or if appropriate directives were followed.

          (b) It was not the result of fraudulent conduct on the part of the enlisted Service
member as described in Paragraph 3.5.d.


SECTION 3: REASONS FOR SEPARATION                                                                 16
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-84
                                              73-6         Filed
                                                            Filed03/13/25
                                                                  03/07/25     Page
                                                                               Page18
                                                                                    18of
                                                                                       of64
                                                                                          64

                                                                    DoDI 1332.14, August 1, 2024


            (c) The error is unchanged in material respects.

         (2) Service Characterization or Separation Description.

        Honorable, unless an entry-level separation or an order of release from the custody and
control of the Military Service is required (by reason of void enlistment or induction) as
described in Paragraph 4.3.

         (3) Procedures.

            (a) If the command recommends that the individual continue military service, the
initiation of separation processing is not required in these circumstances:

                1. The defect is no longer present; or

                2. A waiver is obtained from the appropriate authority.

           (b) If separation processing is initiated, the notification procedures in Paragraph 5.2.
will be used.

   c. Defective Enlistment Agreements.

         (1) Basis.

         A defective enlistment agreement exists in these circumstances:

            (a) As a result of a material misrepresentation by recruiting personnel, upon which
the enlisted Service member reasonably relied. For example, the Service member was induced to
enlist with a commitment for which the enlisted Service member was not qualified;

            (b) The enlisted Service member received a written enlistment commitment from
recruiting personnel for which the enlisted Service member was qualified, but which cannot be
fulfilled by the Military Service; or

            (c) The enlistment was involuntary, in accordance with Section 802 of Title 10,
U.S.C.

         (2) Service Characterization or Separation Description.

        Honorable, unless an entry-level separation or an order of release from the custody and
control of the Military Service (by reason of void enlistment) is required in accordance with
Paragraph 4.3.

         (3) Procedures.

        This provision does not bar appropriate disciplinary action or other administrative
separation proceedings regardless of when the defect is raised. Separation is appropriate under
this provision only in these circumstances:



SECTION 3: REASONS FOR SEPARATION                                                                 17
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-84
                                              73-6         Filed
                                                            Filed03/13/25
                                                                  03/07/25      Page
                                                                                Page19
                                                                                     19of
                                                                                        of64
                                                                                           64

                                                                     DoDI 1332.14, August 1, 2024


           (a) The enlisted Service member did not knowingly participate in creation of the
defective enlistment.

            (b) The enlisted Service member brings the defect to the attention of appropriate
authorities within 30 days after the defect is discovered or reasonably should have been
discovered by the enlisted Service member.

            (c) The enlisted Service member requests separation instead of other authorized
corrective action.

            (d) The request otherwise meets such criteria as may be established by the Secretary
of the Military Department concerned.

   d. Fraudulent Entry into the Military Services.

         (1) Basis.

       An enlisted Service member may be separated in accordance with Paragraph 4.1. based
on procurement of a fraudulent enlistment, induction, or period of military service through any
deliberate material misrepresentation, omission, or concealment that, if known at the time of
enlistment, induction, or entry into a period of military service, might have resulted in rejection.

         (2) Service Characterization or Separation Description.

       Characterization of service or description of separation will be in accordance with
Paragraph 4.3. If the fraud involves concealment of a previous separation in which service was
not characterized as honorable, characterization normally will be under other than honorable
conditions.

         (3) Procedures.

         The notification procedures in Paragraph 5.2. will be used except as follows:

           (a) Characterization of service under other than honorable conditions may not be
issued unless the administrative board procedure in Paragraph 5.3. is used.

            (b) When the sole reason for separation is fraudulent entry, suspension of separation
as described in Paragraph 4.2. is not authorized. When there are approved reasons for separation
in addition to fraudulent entry, suspension of separation is authorized only in these
circumstances:

                1. A waiver of the fraudulent entry is approved.

                2. The suspension pertains to reasons for separation other than the fraudulent
entry.

            (c) If the command recommends that the enlisted Service member be retained in
military service, the initiation of separation processing is unnecessary in these circumstances:



SECTION 3: REASONS FOR SEPARATION                                                                  18
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-84
                                              73-6         Filed
                                                            Filed03/13/25
                                                                  03/07/25     Page
                                                                               Page20
                                                                                    20of
                                                                                       of64
                                                                                          64

                                                                      DoDI 1332.14, August 1, 2024


                1. The defect is no longer present; or

                2. A waiver is obtained from appropriate authority.

   e. Separation from the Delayed Entry Program (DEP).

       (1) Basis.

           (a) An individual who is in the DEP may be separated because of:

                1. Ineligibility for enlistment in accordance with DoDI 1304.26;

                2. Additional standards prescribed by the Secretary of the Military Department
concerned; or

                3. Upon the enlisted Service member’s request when authorized by the Secretary
of the Military Department concerned.

           (b) Separations include individuals in DEP who have been determined to no longer
meet eligibility requirements for enlistment or induction based upon unfavorable expedited
screening protocol (ESP) results in accordance with DTM-19-008.

       (2) Service Characterization or Separation Description.

       This is an entry-level separation.

       (3) Procedures.

           (a) Notice of Separation.

                1. The person will be notified of the proposed separation and the reasons for it. If
the reasons include classified information, unclassified summaries may be used; however, any
summaries derived from classified information will be consistent with U.S. national security
interests and other applicable law. The individual will be notified in writing of:

                   a. The basis of the proposed separation, including the circumstances upon
which the separation is based, reference to this instruction, and any applicable provisions of the
appropriate Military Department’s implementing regulation. If the basis includes classified
information, unclassified summaries may be used. However, any summaries derived from
classified information will be consistent with U.S. national security interests and other applicable
law.

                   b. Whether the proposed separation could result in discharge, release from
active duty to a Reserve Component, transfer from the Selected Reserve to the IRR, release from
Service custody or control, or other form of separation. When determining the results of the
proposed separation, the least favorable characterization of service or description of separation is
authorized.




SECTION 3: REASONS FOR SEPARATION                                                                19
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-84
                                              73-6         Filed
                                                            Filed03/13/25
                                                                  03/07/25     Page
                                                                               Page21
                                                                                    21of
                                                                                       of64
                                                                                          64

                                                                     DoDI 1332.14, August 1, 2024


                   c. The right to obtain copies of documents that will be forwarded to the
separation authority supporting the basis of the proposed separation.

               2. Individuals facing administrative separation from military service based on
unfavorable ESP results will receive the notice in writing consistent with Paragraph 3.5.e.(3)(a)1.
The notice will include the language in Figure 1.

                               Figure 1. Unfavorable ESP Notice.

                A review of information indicates that you present an unacceptable
                risk to good order and discipline within the Armed Forces and that it
                is not in the best interests of the Military Department for you to
                continue to serve. Accordingly, you are being notified that, 30 days
                from your receipt of this memorandum, we intend to act to
                administratively separate you from the Armed Forces.


                3. The notice will be delivered personally or sent by registered or certified mail,
return receipt requested, or by an equivalent form of formal notice under regulations prescribed
by the Secretary of the Military Department concerned. An individual’s contact,
acknowledgement, or failure to acknowledge receipt will be formally documented in their
military record as prescribed in regulation by the Secretary of the Military Department
concerned.

           (b) Rebuttal Statement.

            The person will be given an opportunity to submit to the separation authority a
rebuttal statement by a specified date that is not less than 30 days from the date of delivery.


3.6. ENTRY-LEVEL PERFORMANCE AND CONDUCT.

   a. Basis.

       (1) An enlisted Service member may be separated while in entry-level status (defined in
the Glossary), including the DEP, when it is determined that the member:

            (a) No longer meets the requirements for eligibility for enlistment or induction as
specified in DoDI 1304.26; or

          (b) Is unqualified for further military service by reason of unsatisfactory
performance, conduct, or both.

        (2) Evidence of an enlisted Service member being unqualified may include lack of
capability, lack of reasonable effort, failure to adapt to the military environment, or minor
disciplinary infractions.




SECTION 3: REASONS FOR SEPARATION                                                                 20
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS          Document
                                    Document72-84
                                             73-6         Filed
                                                           Filed03/13/25
                                                                 03/07/25    Page
                                                                             Page22
                                                                                  22of
                                                                                     of64
                                                                                        64

                                                                   DoDI 1332.14, August 1, 2024


        (3) When separation is warranted in accordance with Paragraphs 3.6.a.(1)(a) and
3.6.a.(1)(b), the enlisted Service member should be processed for entry-level separation.
However, entry-level status does not preclude separation for any other reason authorized by this
issuance when such separation is warranted by the circumstances of the case.

       (4) An entry-level separation will not be considered a separation for cause.

   b. Counseling and Rehabilitation.

    Except in separations based on applicants not meeting eligibility requirements for enlistment
or induction, separation processing may not be initiated until the enlisted Service member has
been formally counseled concerning the basis for proposed separation as reflected in appropriate
counseling or personnel records. An enlisted Service member in entry-level status should not be
separated for unsatisfactory performance, minor disciplinary infractions, or both when this is the
sole reason, unless appropriate efforts at rehabilitation have been made under standards
prescribed by the Secretary of the Military Department concerned.

   c. Service Characterization or Separation Description.

   This is an entry-level separation.

   d. Procedures.

   The notification procedures in Paragraph 5.2. will be used.


3.7. UNSATISFACTORY PERFORMANCE.

   a. Basis.

    An enlisted Service member may be separated when it is determined in accordance with
Paragraph 4.1. that the member is unqualified for further military service by reason of
unsatisfactory performance. This reason will not be used if the enlisted Service member is in
entry-level status.

   b. Counseling and Rehabilitation.

     Counseling and rehabilitation requirements are of particular importance to this reason for
separation. Separation processing may not be initiated until the enlisted Service member has
been formally counseled concerning the basis for proposed separation and has been afforded an
opportunity to relieve Service concerns as reflected in appropriate counseling or personnel
records. An enlisted Service member should not be separated when unsatisfactory performance
is the sole reason unless appropriate efforts at rehabilitation have been made in accordance with
standards prescribed by the Secretary of the Military Department concerned.




SECTION 3: REASONS FOR SEPARATION                                                               21
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-84
                                              73-6         Filed
                                                            Filed03/13/25
                                                                  03/07/25     Page
                                                                               Page23
                                                                                    23of
                                                                                       of64
                                                                                          64

                                                                    DoDI 1332.14, August 1, 2024


   c. Service Characterization or Separation Description.

   The service will be characterized as honorable or general (under honorable conditions) in
accordance with Paragraph 4.3.

   d. Procedures.

   The notification procedures in Paragraph 5.2. will be used.


3.8. DRUG MISUSE REHABILITATION.

   a. Basis.

   An enlisted Service member who has been referred to a rehabilitation program for personal
drug misuse may be separated for:

       (1) Refusal to participate in recommended drug misuse treatment; or

       (2) Once enrolled in treatment, they:

           (a) Do not demonstrate the potential for continued military service; or

          (b) Are transferred to a civilian medical facility because long-term rehabilitation is
determined to be necessary.

   b. Provision Clarification.

       (1) Nothing in this provision precludes separation of an enlisted Service member who
has been referred to such a program under any other provision of this instruction.

        (2) Separation due to drug misuse rehabilitation failures will be reported separately from
that of alcohol misuse rehabilitation failures as described in Paragraph 3.9. If separation is based
on both, the primary basis will be used for reporting requirements.

        (3) An enlisted Service member’s voluntary submission to a DoD treatment and
rehabilitation program and voluntarily disclosed evidence of previous personal drug use by the
Service member as part of a course of treatment in such a program may not be used against them
on the issue of characterization as specified in accordance with Paragraph 4.3.b.(3)(f).

   c. Service Characterization or Separation Description.

   When an enlisted Service member is separated under the provisions of Paragraph 3.8.,
characterization of service as honorable or general (under honorable conditions) is authorized
except when an entry-level separation is required in accordance with Paragraph 4.3.

      (1) The relationship between voluntary submission for treatment and the evidence that
may be considered on the issue of characterization is described in Paragraph 4.3.b.(3)(f).



SECTION 3: REASONS FOR SEPARATION                                                                  22
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS          Document
                                    Document72-84
                                             73-6         Filed
                                                           Filed03/13/25
                                                                 03/07/25     Page
                                                                              Page24
                                                                                   24of
                                                                                      of64
                                                                                         64

                                                                   DoDI 1332.14, August 1, 2024


       (2) The relationship between mandatory urinalysis and the evidence that may be
considered on the issue of characterization is described in Paragraph 4.3.b.(3)(g).

   d. Procedures.

   The notification procedures in Paragraph 5.2. will be used.


3.9. ALCOHOL MISUSE REHABILITATION.

   a. Basis.

   An enlisted Service member who has been referred to a rehabilitation program for alcohol
misuse may be separated for:

       (1) Refusal to participate in recommended alcohol misuse treatment; or

       (2) Once enrolled in treatment, they:

           (a) Do not demonstrate the potential for continued military service; or

          (b) Are transferred to a civilian medical facility because long-term rehabilitation is
determined to be necessary.

   b. Provision Clarification.

       (1) Nothing in this provision precludes separation of an enlisted Service member who
has been referred to such a program under any other provision of this instruction.

        (2) Separation due to alcohol misuse will be reported separately from that of drug misuse
rehabilitation failures as described in Paragraph 3.8. If separation is based on both, the primary
basis will be used for reporting purposes.

   c. Service Characterization or Separation Description.

    When an enlisted Service member is separated under this provision, characterization of
service as honorable or general (under honorable conditions) is authorized except when an entry-
level separation is required in accordance with Paragraph 4.3.

   d. Procedures.

   The notification procedures in Paragraph 5.2. will be used.




SECTION 3: REASONS FOR SEPARATION                                                                  23
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-84
                                              73-6          Filed
                                                             Filed03/13/25
                                                                   03/07/25     Page
                                                                                Page25
                                                                                     25of
                                                                                        of64
                                                                                           64

                                                                     DoDI 1332.14, August 1, 2024


3.10. MISCONDUCT.

   a. Basis.

    An enlisted Service member may be separated for misconduct when it is determined in
accordance with Paragraph 4.1. that the enlisted Service member is unqualified for further
military service by reason of one or more of the following circumstances:

       (1) Minor Disciplinary Infractions.

        A pattern of misconduct consisting solely of minor disciplinary infractions. If separation
of an enlisted Service member in entry-level status is warranted solely by reason of minor
disciplinary infractions, the action should be processed under entry-level performance and
conduct in accordance with Paragraph 3.6.

       (2) A Pattern of Misconduct.

       A pattern of misconduct consisting of:

           (a) Discreditable involvement with civil or military authorities; or

           (b) Conduct prejudicial to good order and discipline.

       (3) Commission of a Serious Offense.

       Commission of a serious military or civilian offense if a punitive discharge would be
authorized for the same or a closely related offense in accordance with the Manual for Courts-
Martial.

       (4) Civilian Conviction.

            (a) Conviction by civilian authorities or action taken that is equivalent to a finding of
guilty, including similar adjudications in juvenile proceedings, and if these conditions apply:

               1. A punitive discharge would be authorized for the same or a closely related
offense in accordance with the Manual for Courts-Martial; or

              2. The sentence by civilian authorities includes confinement for 6 months or
more without regard to suspension or probation.

            (b) Separation processing may be initiated whether an enlisted Service member has
filed an appeal of a civilian conviction or has stated an intention to do so. Execution of an
approved separation should be withheld pending outcome of the appeal or until the time for
appeal has passed, but the enlisted Service member may be separated before final action on the
appeal upon the member’s request or upon direction of the Secretary of the Military Department
concerned.




SECTION 3: REASONS FOR SEPARATION                                                                  24
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-84
                                              73-6         Filed
                                                            Filed03/13/25
                                                                  03/07/25     Page
                                                                               Page26
                                                                                    26of
                                                                                       of64
                                                                                          64

                                                                    DoDI 1332.14, August 1, 2024


   b. Counseling and Rehabilitation.

    Separation processing for minor disciplinary infractions or a pattern of misconduct in
accordance with Paragraphs 3.10.a.(2)(a) and 3.10.a.(2)(b) may not be initiated until the enlisted
Service member has been formally counseled concerning the basis for proposed separation and
has been afforded an opportunity to relieve Service concerns as reflected in appropriate
counseling or personnel records. If the sole basis of separation is commission of a serious
offense as described in Paragraph 3.10.a.(3) or a civilian conviction as described in Paragraph
3.10.a.(4)(a), the counseling and rehabilitation requirements are not applicable.

   c. Service Characterization or Separation Description.

        (1) Characterization of service will normally be under other than honorable conditions,
but characterization as general (under honorable conditions) may be warranted in accordance
with Paragraph 4.3. For respondents who have completed entry-level status, characterization of
service as honorable is not authorized unless the respondent’s record is otherwise so meritorious
that any other characterization clearly would be inappropriate. In such cases, separations for
misconduct with an honorable characterization will be approved by a commander exercising
general court-martial jurisdiction or higher authority as specified by the Secretary of the Military
Department concerned.

        (2) As an exception, the Secretary of the Military Department concerned may authorize
general court-martial convening authorities to delegate authority to special court-martial
convening authorities to approve separations with service characterized as honorable. This
delegation may be done when the sole evidence of misconduct is command-directed urinalysis
results that cannot be used for characterization of service, or when an administrative discharge
board has recommended separation with an honorable discharge.

       (3) When characterization of service under other than honorable conditions is not
warranted for an enlisted Service member in entry-level status in accordance with Paragraph 4.3.,
the separation will be described as an entry-level separation.

   d. Procedures.

    The administrative board procedure in Paragraph 5.3. will be used. However, use of the
notification procedures in Paragraph 5.2. is authorized if characterization of service under other
than honorable conditions is not warranted in accordance with Paragraph 4.3.


3.11. SEPARATION IN LIEU OF TRIAL BY COURT-MARTIAL.

   a. Basis.

    Upon request by the enlisted Service member, they may be separated in lieu of trial by court-
martial if charges have been preferred with respect to an offense for which a punitive discharge
is authorized, and it is determined that the enlisted Service member is unqualified for further
military service in accordance with Paragraph 4.1. This provision may not be used when Rule



SECTION 3: REASONS FOR SEPARATION                                                                 25
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS             Document
                                       Document72-84
                                                73-6        Filed
                                                             Filed03/13/25
                                                                   03/07/25    Page
                                                                               Page27
                                                                                    27of
                                                                                       of64
                                                                                          64

                                                                     DoDI 1332.14, August 1, 2024


1003(d) of the Manual for Courts-Martial provides the sole basis for a punitive discharge unless
the charges have been referred to a court-martial empowered to adjudge a punitive discharge.

   b. Service Characterization or Separation Description.

   Characterization of service normally will be under other than honorable conditions, but
characterization as general (under honorable conditions) may be warranted in accordance with
Paragraph 4.3.

       (1) For respondents who have completed entry-level status, characterization of service as
honorable is not authorized unless the respondent’s record is otherwise so meritorious that any
other characterization clearly would be inappropriate.

       (2) When characterization of service under other than honorable conditions is not
warranted for an enlisted Service member in entry-level status in accordance with Paragraph 4.3.,
the separation will be described as an entry-level separation.

   c. Procedures.

       (1) The request for discharge must be submitted in writing and signed by the enlisted
Service member.

         (2) The enlisted Service member will be afforded an opportunity to consult with counsel
qualified pursuant to Section 827(b) of Title 10, U.S.C. If the enlisted Service member refuses to
consult with legal counsel, counsel will prepare a statement to this effect, which will be attached
to the file to document that the enlisted Service member has waived the right to consult with
counsel.

        (3) Except when the enlisted Service member has waived the right to counsel, the request
will be signed by counsel.

       (4) In the written request, the enlisted Service member will state that they understand:

              (a) The elements of the offense or offenses charged.

              (b) That characterization of service under other than honorable conditions is
authorized.

              (c) The adverse nature of such a characterization and its possible consequences.

       (5) The Secretary of the Military Department concerned will also require that the request
include:

           (a) An acknowledgment of guilt of one or more of the offenses or any lesser included
offenses for which a punitive discharge is authorized; or




SECTION 3: REASONS FOR SEPARATION                                                                 26
       Case
       Case1:25-cv-00240-ACR
            2:25-cv-00241-BHS        Document
                                     Document72-84
                                              73-6         Filed
                                                            Filed03/13/25
                                                                  03/07/25    Page
                                                                              Page28
                                                                                   28of
                                                                                      of64
                                                                                         64

                                                                    DoDI 1332.14, August 1, 2024


            (b) A summary of the evidence or list of documents (or copies of these) provided to
the enlisted Service member pertaining to the offenses for which a punitive discharge is
authorized.

        (6) The separation authority will be a commander exercising general court-martial
jurisdiction or higher authority as specified by the Secretary of the Military Department
concerned. As an exception, the Secretary may authorize general court-martial convening
authorities to delegate authority to the special court-martial convening authorities to approve
requests for discharge in the case of enlisted Service members who:

            (a) Have been absent without leave for more than 30 days.

            (b) Have been dropped from the rolls of their units as absent in desertion.

            (c) Have been returned to military control.

            (d) Are assigned to a regional personnel control or separation processing facility.

            (e) Are charged only with being absent without leave for more than 30 days.

        (7) Statements by the enlisted Service member or their counsel submitted in connection
with a request under Paragraph 3.11.c. are not admissible against the enlisted Service member in
a court-martial except as authorized under Military Rule of Evidence 410 of the Manual for
Courts-Martial.


3.12. SECURITY.

    a. Basis.

    When retention is clearly inconsistent with the interest of national security, an enlisted
Service member may be separated by reason of security and under conditions and procedures
prescribed in DoDI 5200.02.

    b. Service Characterization or Separation Description.

    Characterization of service or description of separation will be in accordance with Paragraph
4.3.

    c. Procedures.

   The procedures established by the Military Departments will be consistent with the
procedures contained in this instruction as practical.




SECTION 3: REASONS FOR SEPARATION                                                                 27
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS          Document
                                    Document72-84
                                             73-6         Filed
                                                           Filed03/13/25
                                                                 03/07/25    Page
                                                                             Page29
                                                                                  29of
                                                                                     of64
                                                                                        64

                                                                   DoDI 1332.14, August 1, 2024


3.13. UNSATISFACTORY PARTICIPATION IN THE READY RESERVE.

   a. Basis.

   An enlisted Service member may be separated for unsatisfactory participation in the Ready
Reserve under criteria established by the Secretary of the Military Department concerned in
accordance with DoDI 1215.13.

   b. Service Characterization or Separation Description.

   Characterization of service or description of separation will be in accordance with DoDI
1215.13 and Paragraph 4.3. of this instruction.

   c. Procedures.

    The administrative board procedures in Paragraph 5.3. will be used. However, the
notification procedures in Paragraph 5.2. may be used if characterization of service under other
than honorable conditions is not warranted in accordance with Paragraph 4.3.


3.14. SECRETARIAL PLENARY AUTHORITY.

   a. Basis.

       (1) Notwithstanding any limitation on separations provided in this instruction, the
Secretary of the Military Department concerned may direct the separation of any enlisted Service
member before expiration of term of service after determining it to be in the best interest of the
Military Service.

     (2) The Military Departments will use Secretarial plenary authority for enlisted Service
members who:

            (a) Are not in the DEP or Delayed Training Program or are otherwise not in entry-
level status.

           (b) Have been determined to no longer meet eligibility requirements for enlistment or
induction based on unfavorable ESP results.

   b. Service Characterization or Separation Description.

   Characterization of service or description of separation is honorable or general (under
honorable conditions), as warranted, in accordance with Paragraph 4.3. unless an entry-level
separation is required in accordance with Paragraph 4.3.

   c. Procedures.

   The notification procedures in Paragraph 5.2. will be used, except for Paragraph 5.2.a.(8)
regarding the procedure for requesting an administrative board, which is not applicable.



SECTION 3: REASONS FOR SEPARATION                                                               28
       Case
       Case1:25-cv-00240-ACR
            2:25-cv-00241-BHS       Document
                                    Document72-84
                                             73-6        Filed
                                                          Filed03/13/25
                                                                03/07/25     Page
                                                                             Page30
                                                                                  30of
                                                                                     of64
                                                                                        64

                                                                   DoDI 1332.14, August 1, 2024


3.15. REASONS ESTABLISHED BY THE MILITARY DEPARTMENTS.

    a. Basis.

    The Military Departments may establish additional reasons for separation for circumstances
not otherwise provided for in this instruction to meet their specific requirements, subject to
ASD(M&RA) approval.

    b. Counseling and Rehabilitation.

    Separation processing may not be initiated until the enlisted Service member has been
counseled formally concerning the basis for proposed separation and has been afforded an
opportunity to relieve Service concerns as reflected in appropriate counseling or personnel
records. An exception to these requirements may be granted when the Military Department
concerned provides in its implementing document that counseling and rehabilitation
requirements are not applicable for the specific reason for separation.

    c. Service Characterization or Separation Description.

    Characterization of service or description of separation will be in accordance with Paragraph
4.3.

    d. Procedures.

   The procedures established by the Military Departments will be consistent with the
procedures contained in this instruction as practical.


3.16. PHYSICAL FITNESS OR BODY COMPOSITION STANDARDS.

       a. Basis.

   An enlisted Service member may be separated for not meeting physical fitness or body
composition standards established in DoDI 1308.03 when it is determined that the enlisted
Service member is unqualified for further military service and meets the following conditions:

        (1) The enlisted Service member is not medically diagnosed with a medical condition
that precludes or interferes with achieving DoD physical fitness or body composition standards.
Enlisted Service members with a medically diagnosed condition that precludes or interferes with
meeting these standards may be separated either through medical channels, if appropriate, or in
accordance with Paragraph 3.4.

       (2) The sole reason for separation is the enlisted Service member’s inability to meet DoD
physical fitness or body composition standards.

       b. Counseling and Rehabilitation.

   Separation processing may not be initiated until the enlisted Service member has been
counseled formally concerning the basis for proposed separation and has been afforded an


SECTION 3: REASONS FOR SEPARATION                                                                29
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS          Document
                                    Document72-84
                                             73-6         Filed
                                                           Filed03/13/25
                                                                 03/07/25    Page
                                                                             Page31
                                                                                  31of
                                                                                     of64
                                                                                        64

                                                                   DoDI 1332.14, August 1, 2024


opportunity to relieve Service concerns as reflected in appropriate counseling or personnel
records.

   c. Service Characterization or Separation Description.

   Characterization of service or description of separation is honorable, unless:

       (1) Characterization of service as general under honorable conditions is warranted in
accordance with Paragraph 4.3. based on numerical scores accumulated in a formal, Service-
wide rating system that evaluated conduct and performance on a regular basis; or

       (2) An entry-level separation is required in accordance with Paragraph 4.3.

   d. Procedures.

   The notification procedures in Paragraph 5.2. will be used.




SECTION 3: REASONS FOR SEPARATION                                                              30
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS            Document
                                      Document72-84
                                               73-6        Filed
                                                            Filed03/13/25
                                                                  03/07/25    Page
                                                                              Page32
                                                                                   32of
                                                                                      of64
                                                                                         64

                                                                    DoDI 1332.14, August 1, 2024


 SECTION 4: GUIDELINES ON CHARACTERIZATION AND SEPARATION

4.1. SEPARATION.

   a. Scope.

   This general guidance applies when referenced in Section 3. Further guidance is provided
under the specific reasons for separation in Section 3.

   b. Guidance.

         (1) A substantial investment is made in the training of individuals enlisted or inducted
into the Military Services. Thus, reasonable efforts at rehabilitation should be made before
initiating separation proceedings for enlisted Service members who do not conform to required
standards.

        (2) Unless separation is mandatory, the potential for rehabilitation and further useful
military service will be considered by the separation authority and, where applicable, the
administrative board. If separation is warranted despite the potential for rehabilitation,
consideration should be given to suspension of the separation, if authorized.

       (3) Counseling and rehabilitation efforts are a prerequisite to initiation of separation
proceedings only in so far as expressly described under specific requirements for separation in
Section 3. An alleged or established inadequacy in previous rehabilitative efforts does not
provide a legal bar to separation.

      (4) The following factors may be considered on the issue of retention or separation,
depending on the circumstances of the case:

            (a) The seriousness of the circumstances forming the basis for initiation of separation
proceedings and the effect of the enlisted Service member’s continued retention on military
discipline, good order, and morale.

            (b) The likelihood of continuation or recurrence of the circumstances forming the
basis for initiation of separation proceedings.

           (c) The likelihood that the enlisted Service member will be a disruptive or
undesirable influence in present or future duty assignments.

           (d) The ability of the enlisted Service member to perform duties effectively in the
present and in the future, including potential for advancement or leadership.

           (e) The enlisted Service member’s rehabilitative potential.

           (f) The enlisted Service member’s entire military record.

               1. This may include:


SECTION 4: GUIDELINES FOR CHARACTERIZATION AND SEPARATION                                           31
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS             Document
                                       Document72-84
                                                73-6        Filed
                                                             Filed03/13/25
                                                                   03/07/25     Page
                                                                                Page33
                                                                                     33of
                                                                                        of64
                                                                                           64

                                                                     DoDI 1332.14, August 1, 2024


                   a. Past contributions to the Military Service, assignments, awards and
decorations, evaluation ratings, and letters of commendation.

                    b. Letters of reprimand or admonition, counseling records, records of
nonjudicial punishment, records of conviction by court-martial, and records of involvement with
civilian authorities.

                  c. Any other matter deemed relevant by the board or separation authority,
based on the specialized training, duties, and experience of persons entrusted by this instruction
with recommendations and decisions on the issue of separation or retention.

                  2. This guidance applies to consideration of matters described in Paragraph
4.1.b.(4)(f)1.:

                   a. Adverse matters from a previous enlistment or period of military service,
such as records of nonjudicial punishment and conviction by courts-martial, may be considered
only when such records would have a direct and strong probative value in determining whether
separation is appropriate. The use of such records will ordinarily be limited to those cases
involving patterns of conduct manifested over an extended period.

                     b. Isolated incidents and events that are remote in time normally have little
probative value.

    c. Limitations on Separation Actions.

   An enlisted Service member may not be separated based on any one of the following types of
conduct:

        (1) Conduct that has been the subject of judicial proceedings resulting in acquittal or
action having the same effect except when:

          (a) Such action is based on a judicial determination not going to the guilt or
innocence of the respondent.

           (b) The judicial proceeding was conducted in a State or foreign court and the
separation is approved by the Secretary of the Military Department concerned.

           (c) The acquittal from the judicial proceedings was based on a finding of not guilty
only by reason of lack of mental responsibility. Enlisted Service members in this category
normally will be separated under Secretarial plenary authority in accordance with Paragraph
3.14. unless separation for disability in accordance with Paragraph 3.4. is appropriate.

       (2) Conduct that has been the subject of a previous administrative board action in which
the board entered an approved finding that the evidence did not sustain the factual allegations
concerning the conduct, except when the conduct is the subject of a rehearing ordered based on
fraud or collusion.




SECTION 4: GUIDELINES FOR CHARACTERIZATION AND SEPARATION                                            32
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS               Document
                                         Document72-84
                                                  73-6       Filed
                                                              Filed03/13/25
                                                                    03/07/25     Page
                                                                                 Page34
                                                                                      34of
                                                                                         of64
                                                                                            64

                                                                       DoDI 1332.14, August 1, 2024


        (3) Conduct that has been the subject of an administrative separation proceeding
resulting in a final determination by a separation authority that the enlisted Service member
should be retained, except:

             (a) When there is subsequent conduct or performance forming the basis, in whole or
in part, for a new proceeding;

            (b) When there is new or newly discovered evidence that was not reasonably
available at the time of the previous proceeding; or

              (c) When the conduct is the subject of a rehearing ordered based on fraud or
collusion.


4.2. SUSPENSION OF SEPARATION.

   a. Suspension.

       (1) Unless prohibited by this instruction, a separation may be suspended for a specified
period of not more than 12 months by the separation authority or higher authority if the
circumstances of the case indicate a reasonable likelihood of rehabilitation.

       (2) During the period of suspension, the enlisted Service member will be afforded an
opportunity to meet appropriate conduct, disciplinary, and performance standards.

       (3) Unless sooner cancelled or completed, the approved separation will be closed upon:

              (a) Completion of the probationary period;

              (b) Termination of the enlisted Service member’s enlistment or period of obligated
service; or

              (c) Decision of the separation authority that the goal of rehabilitation has been
achieved.

   b. Action During the Period of Suspension.

       (1) During the period of suspension, if there are further grounds for separation under
Section 3, one or more of these actions may be taken:

              (a) Disciplinary action;

              (b) New administrative action; or

           (c) Cancellation of the suspension accompanied by execution of the separation if the
enlisted Service member:

                 1. Engages in conduct similar to that for which separation was approved, but
suspended; or


SECTION 4: GUIDELINES FOR CHARACTERIZATION AND SEPARATION                                          33
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS            Document
                                      Document72-84
                                               73-6        Filed
                                                            Filed03/13/25
                                                                  03/07/25     Page
                                                                               Page35
                                                                                    35of
                                                                                       of64
                                                                                          64

                                                                    DoDI 1332.14, August 1, 2024


                2. Otherwise fails to meet appropriate standards of conduct and duty
performance.

       (2) Before cancellation of a suspension, the enlisted Service member will be notified in
writing of the basis for the action and will be afforded the opportunity to consult with counsel, as
provided in Paragraph 5.2.a.(6), and to submit a statement in writing to the separation authority.

            (a) The respondent will be provided a reasonable period, not less than 2 working
days, to act on the notice.

           (b) If the respondent identifies specific legal issues for consideration by the
separation authority, the matter will be reviewed by a judge advocate or civilian lawyer
employed by the U.S. Government before final action by the separation authority.


4.3. SERVICE CHARACTERIZATION OR SEPARATION DESCRIPTION.

   a. Types of Service Characterization or Separation Description.

       (1) At separation, these types of service characterization or separation description are
authorized under this instruction:

           (a) Separation with service characterization as honorable, general (under honorable
conditions), or under other than honorable conditions.

             (b) Entry-level separation.

             (c) Order of release from Service custody and control by reason of void enlistment or
induction.

             (d) Separation by being dropped from the Service rolls.

        (2) Any of these types of separation may be used in appropriate circumstances unless a
limitation is described in this section or in Section 3, which explains reasons for separation.

   b. Characterization of Service.

       (1) General Considerations.

            (a) Characterization at separation will be based upon the quality of the enlisted
Service member’s service, including the reason for separation and guidance in Paragraph
4.3.b.(2), subject to the limitations under various reasons for separation described in Section 3.
The quality of service will be determined in accordance with standards of acceptable personal
conduct and performance of duty for Service members. These standards are found in the Manual
for Courts-Martial directives and regulations issued by the DoD and the Military Departments,
and the time-honored customs and traditions of military service.

            (b) The quality of service of an enlisted Service member on active duty or active duty
for training is adversely affected by conduct that is of a nature to bring discredit on the Military


SECTION 4: GUIDELINES FOR CHARACTERIZATION AND SEPARATION                                         34
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-84
                                              73-6         Filed
                                                            Filed03/13/25
                                                                  03/07/25    Page
                                                                              Page36
                                                                                   36of
                                                                                      of64
                                                                                         64

                                                                    DoDI 1332.14, August 1, 2024


Services or is prejudicial to good order and discipline, regardless of whether jurisdiction under
Chapter 47 of Title 10, U.S.C., (also known and referred to in this instruction as the “Uniform
Code of Military Justice (UCMJ)”) is exercised. Characterization may be based on conduct in
the civilian community, and the burden is on the respondent to demonstrate that such conduct did
not adversely affect the respondent’s service.

            (c) The reasons for separation, including the specific circumstances that form the
basis for the separation, will be considered on the issue of characterization. In general,
characterization will be based on a pattern of behavior rather than an isolated incident. However,
there are circumstances in which the conduct or performance of duty reflected by a single
incident provides the basis for characterization.

            (d) Due consideration will be given to the enlisted Service member’s age, length of
service, grade, aptitude, physical and mental condition, and the standards of acceptable conduct
and performance of duty.

       (2) Types of Characterization.

           (a) Honorable.

            The honorable characterization is appropriate when the quality of the enlisted Service
member’s service generally has met the standards of acceptable conduct and performance of duty
for Service members or is otherwise so meritorious that any other characterization would be
clearly inappropriate.

           (b) General (Under Honorable Conditions).

            If an enlisted Service member’s service has been honest and faithful, it is appropriate
to characterize that service as general (under honorable conditions). Characterization of service
as general (under honorable conditions) is warranted when the positive aspects of the enlisted
Service member’s conduct or performance of duty outweigh negative aspects of the enlisted
Service member’s conduct or performance of duty as documented in their service record.

           (c) Under Other Than Honorable Conditions.

               1. This characterization may be issued:

                    a. When the reason for separation is based on a pattern of behavior that
constitutes a significant departure from the conduct expected of enlisted Service members.

                    b. When the reason for separation is based on one or more acts or omissions
that constitute a significant departure from the conduct expected of enlisted Service members.
Examples of factors that may be considered include the use of force or violence to produce
serious bodily injury or death; abuse of a special position of trust; disregard by a superior of
customary superior-subordinate relationships; acts or omissions that endanger U.S. security or
the health and welfare of other Service members; and deliberate acts or omissions that seriously
endanger the health and safety of other persons.



SECTION 4: GUIDELINES FOR CHARACTERIZATION AND SEPARATION                                        35
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS            Document
                                      Document72-84
                                               73-6        Filed
                                                            Filed03/13/25
                                                                  03/07/25     Page
                                                                               Page37
                                                                                    37of
                                                                                       of64
                                                                                          64

                                                                     DoDI 1332.14, August 1, 2024


               2. This characterization is authorized only if the enlisted Service member has
been afforded the opportunity to request an administrative board action, except as provided in
Paragraph 3.11. regarding separation in lieu of trial by court-martial.

          (3) Limitations on Characterization.

        Except as otherwise provided in Paragraph 4.3., characterization will be determined
solely by the enlisted Service member’s military record during the current enlistment or period of
service to which the separation pertains, plus any extensions to that period prescribed by law or
regulation or effected with the consent of the enlisted Service member.

            (a) Previous service activities, including records of conviction by court-martial,
records of absence without leave, or commission of other offenses for which punishment was not
imposed will not be considered on the issue of characterization. To the extent that such matters
are considered on the issue of retention or separation in accordance with Paragraph 4.1.b., the
record of proceedings may reflect express direction that such information will not be considered
on the issue of characterization.

             (b) Pre-service activities may not be considered on the issue of characterization
except:

              1. In a proceeding concerning fraudulent entry into military service in accordance
with Paragraph 3.5.d.

               2. When evidence is found of pre-service misrepresentations about matters that
would have precluded, postponed, or otherwise affected the enlisted Service member’s eligibility
for enlistment or induction.

            (c) The limitations in Paragraph 4.1.c. as to matters that may be considered on the
issue of separation are applicable to matters that may be considered on the issue of
characterization.

           (d) When the sole basis for separation is a serious offense that resulted in a
conviction by a court-martial authorized to impose a punitive discharge, and a punitive discharge
was not imposed, the enlisted Service member’s service may not be characterized under other
than honorable conditions unless such characterization is approved by the Secretary of the
Military Department concerned.

            (e) Conduct in the civilian community of an enlisted Service member of a Reserve
Component who is not on active duty or active duty for training may form the basis for
characterization under other than honorable conditions only if such conduct directly affects the
performance of the enlisted Service member’s military duties. Such conduct may form the basis
of characterization as general (under honorable conditions) only if such conduct has an adverse
impact on the overall effectiveness of the Military Service, including military morale and
efficiency.

            (f) An enlisted Service member’s voluntary submission to a DoD treatment and
rehabilitation program and voluntarily disclosed evidence of previous personal drug use by the


SECTION 4: GUIDELINES FOR CHARACTERIZATION AND SEPARATION                                         36
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-84
                                              73-6        Filed
                                                           Filed03/13/25
                                                                 03/07/25     Page
                                                                              Page38
                                                                                   38of
                                                                                      of64
                                                                                         64

                                                                    DoDI 1332.14, August 1, 2024


enlisted Service member as part of a course of treatment in such a program may not be used
against the enlisted Service member on the issue of characterization. This limitation does not
apply to:

                1. The introduction of evidence for impeachment or rebuttal purposes in any
proceeding in which the evidence of drug misuse (or lack of evidence) has been introduced first
by the enlisted Service member.

              2. Taking action based on independently derived evidence, including evidence of
continued drug misuse after initial entry into a treatment and rehabilitation program.

           (g) The results of mandatory urinalysis may be used on the issue of characterization
except as provided in DoDI 1010.01.

   c. Uncharacterized Separation.

       (1) Entry-Level Separation.

           (a) A separation will be described as an entry-level separation if separation
processing is initiated while an enlisted Service member is in entry-level status, except when:

                1. Characterization as under other than honorable conditions is authorized under
the reason for separation and is warranted by the circumstances of the case; or

               2. The Secretary of the Military Department concerned, on a case-by-case basis,
determines that characterization of service as honorable is clearly warranted by the presence of
unusual military duty. The characterization is authorized when the enlisted Service member is
separated in accordance with Section 3 by reason of:

                   a. Selected changes in service obligation in accordance with Paragraph 3.2.;

                   b. Convenience of the U.S. Government in accordance with Paragraph 3.3.;

                   c. Disability in accordance with Paragraph 3.4.;

                   d. Secretarial plenary authority in accordance with Paragraph 3.14.; or

                 e. An approved reason established by the Military Department concerned in
accordance with Paragraph 3.15.

          (b) In time of mobilization or in other appropriate circumstances, the ASD(M&RA)
may authorize the Secretary of the Military Department concerned to delegate the authority in
Paragraph 4.3.c.(1)(a)2. (concerning the honorable characterization) to a general court-martial
convening authority with respect to enlisted Service members serving in operational units.

       (2) Void Enlistments or Inductions.

       Under void enlistments or inductions, an enlisted Service member will not receive a
discharge, characterization of service at separation, or an entry-level separation except when a


SECTION 4: GUIDELINES FOR CHARACTERIZATION AND SEPARATION                                          37
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS            Document
                                      Document72-84
                                               73-6         Filed
                                                             Filed03/13/25
                                                                   03/07/25     Page
                                                                                Page39
                                                                                     39of
                                                                                        of64
                                                                                           64

                                                                      DoDI 1332.14, August 1, 2024


constructive enlistment arises and such action is required in accordance with Paragraph
4.3.c.(2)(c). If characterization or an entry-level separation is not required, the separation will be
described as an order of release from Service custody or control.

             (a) An enlistment is void:

                1. If it was performed without the voluntary consent of a person who has the
capacity to understand the significance of enlisting in the Military Services, including enlistment
of a person who is intoxicated or insane at the time of enlistment, in accordance with Section 504
of Title 10, U.S.C.

                2. If the person is under 17 years of age, in accordance with Section 505 of Title
10, U.S.C.

               3. If the person is a deserter from another Military Service in accordance with
Section 504 of Title 10, U.S.C.

             (b) Although an enlistment may be void at its inception, a constructive enlistment
will arise in the case of a person serving with a Military Service who:

                1. Submitted voluntarily to military authority.

               2. Met the mental competency and minimum age qualifications of Sections 504
and 505 of Title 10, U.S.C., at the time of voluntary submission to military authority.

                3. Received military pay or allowances.

                4. Performed military duties.

           (c) If an enlistment that is void at its inception is followed by a constructive
enlistment within the same term of service, characterization of service or description of
separation will be in accordance with Paragraph 4.3.b. or 4.3.c.(1), as appropriate.

               1. If the enlistment was void by reason of desertion from another Military
Service, the enlisted Service member will be separated by an order of release from the custody
and control of the second Military Service regardless of any subsequent constructive enlistment.

                2. The occurrence of such a subsequent constructive enlistment does not preclude
the Military Departments, in appropriate cases, from either retaining the enlisted Service member
or separating the enlisted Service member in accordance with Paragraph 3.5., based on the
circumstances that initiated the original void enlistment or upon any other basis for separation
provided in this instruction.

       (3) Dropping from the Rolls.

       An enlisted Service member may be dropped from the Service rolls when such action is
authorized by the Military Department concerned and a characterization of service or other
description of separation is not authorized or warranted.


SECTION 4: GUIDELINES FOR CHARACTERIZATION AND SEPARATION                                          38
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-84
                                              73-6         Filed
                                                            Filed03/13/25
                                                                  03/07/25     Page
                                                                               Page40
                                                                                    40of
                                                                                       of64
                                                                                          64

                                                                    DoDI 1332.14, August 1, 2024


                  SECTION 5: PROCEDURES FOR SEPARATION

5.1. SCOPE.

   a. The supplementary procedures in this section are applicable only when required under a
specific reason for separation as described in Section 3.

    b. When an enlisted Service member is processed based on multiple reasons for separation
these guidelines apply to procedural requirements, including procedural limitations on service
characterization or separation description.

       (1) The requirements for each reason will be applied to the extent practicable.

       (2) If a reason for separation in the notice of proposed action requires processing using
the administrative board procedure, the entire matter will be processed in accordance with
Paragraph 5.3.

        (3) If more than one reason for separation is approved, the guidance on characterization
that provides the greatest latitude will apply.

       (4) When there is any other clear conflict between a specific requirement applicable to
one reason and a general requirement applicable to another reason, the specific requirement will
be applied.

       (5) If a conflict in separation procedures cannot be resolved by applying the guidance in
Paragraphs 5.1.b.(1) through 5.1.b.(4), the procedure deemed by the separation authority to be
most favorable to the respondent will be used.


5.2. NOTIFICATION PROCEDURES.

   a. Notice.

    If the notification procedure is initiated in accordance with Section 3, the person will be
notified of the proposed separation and the reasons for it. If the reasons include classified
information, unclassified summaries may be used; however, any summaries derived from
classified information will be consistent with U.S. national security interests and other applicable
law. The individual will be notified in writing of:

        (1) The basis of the proposed separation, including the circumstances upon which the
separation is based and a reference to this instruction and any applicable provisions of the
appropriate Military Department’s or the U.S. Coast Guard’s implementing regulation.

       (2) Whether the proposed separation could result in discharge, release from active duty
to a Reserve Component, transfer from the Selected Reserve to the IRR, release from Service
custody or control, or other form of separation.



SECTION 5: PROCEDURES FOR SEPARATION                                                               39
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-84
                                              73-6         Filed
                                                            Filed03/13/25
                                                                  03/07/25     Page
                                                                               Page41
                                                                                    41of
                                                                                       of64
                                                                                          64

                                                                    DoDI 1332.14, August 1, 2024


        (3) The least favorable characterization of service or description of separation authorized
for the proposed separation.

       (4) If appropriate, notice of administrative separation from military service based on
unfavorable ESP results in accordance with DTM-19-008. Notice in writing must include the
required language in Figure 1.

        (5) The right to obtain copies of documents that will be forwarded to the separation
authority supporting the basis of the proposed separation. Classified information in such
documents may be provided to the individual in unclassified summarized format in accordance
with the classification requirements in Paragraph 5.2.a.

       (6) The respondent’s right to submit statements.

        (7) The respondent’s right to consult with counsel qualified pursuant to Article 27(b) of
the UCMJ. Non-lawyer counsel may be appointed when the respondent is deployed aboard a
vessel or in similar circumstances of distance from sufficient judge advocate resources as
determined under standards and procedures specified by the Secretary of the Military
Department concerned. The respondent may also consult with civilian counsel retained at their
own expense.

        (8) If the respondent has 6 or more years of total active and reserve military service, the
right to request an administrative board action in accordance with Paragraph 5.3.

        (9) The right to waive the rights in Paragraphs 5.2.a.(5) through 5.2.a.(8) after being
afforded a reasonable opportunity to consult with counsel and advised that failure to respond will
constitute a waiver of the right.

       (10) The requirement to complete all components of the Transition Assistance Program
in accordance with DoDI 1332.35.

   b. Additional Notice Requirements.

        (1) If separation processing is initiated based on more than one reason in accordance
with Section 3, the requirements of Paragraph 5.2.a.(1) apply to all proposed reasons for
separation.

        (2) If the respondent is in civil confinement, absent without leave, or in a Reserve
Component not on active duty, the relevant notification procedures in Paragraphs 5.4., 5.5., or
5.6. apply.

       (3) Additional notification requirements in Paragraphs 3.3. and 3.4. apply when:

           (a) Characterization of service as general (under honorable conditions) is authorized.

         (b) The enlisted Service member is processed for separation by reason of U.S.
Government convenience or disability.



SECTION 5: PROCEDURES FOR SEPARATION                                                              40
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS            Document
                                      Document72-84
                                               73-6         Filed
                                                             Filed03/13/25
                                                                   03/07/25     Page
                                                                                Page42
                                                                                     42of
                                                                                        of64
                                                                                           64

                                                                      DoDI 1332.14, August 1, 2024


   c. Response.

    The respondent will be provided a reasonable period, but not less than 2 working days, to act
on the notice. An extension may be granted upon a timely showing of good cause by the
respondent. The decision of the respondent on each of the rights described in Paragraphs
5.2.a.(5) through 5.2.a.(9), and applicable provisions referenced in Paragraph 5.2., will be
recorded and signed by the respondent and counsel, subject to the following limitations:

        (1) If notice by other than personal means is authorized in accordance with Paragraphs
5.4., 5.5., or 5.6., and the respondent fails to acknowledge receipt or submit a timely reply, that
fact will constitute a waiver of rights and will be documented.

       (2) If the respondent declines to respond as to the selection of rights, such declination
will constitute a waiver of rights and will be documented. If the respondent indicates that one or
more of the rights will be exercised, the selection of rights will be documented.

   d. Separation Authority.

        (1) The separation authority for actions initiated under the notification procedures will be
a special court-martial convening authority or higher authority.

            (a) Subject to approval by the ASD(M&RA), the Secretary of the Military
Department concerned may authorize the following persons to act as a separation authority for a
specified reason for separation:

               1. A commanding officer in grade O-5 or above; or

               2. A commanding officer in the grade of O-4 who:

                    a. Is on an approved list for promotion to O-5 and is assigned to command a
unit that is authorized a commanding officer in the grade of O-5 or above.

                   b. Has a judge advocate or other legal advisor available to the command.

           (b) If the case was initiated under the administrative board procedures and the
respondent waived the right to a hearing in accordance with Paragraph 5.3.d., the separation
authority will be an official designated in accordance with Paragraph 5.3.f.

       (2) The action of the separation authority will be recorded.

        (3) The separation authority will determine whether there is sufficient evidence to verify
the allegations in the notification of the basis for separation. If an allegation is not supported by
a preponderance of the evidence, it may not be used as a basis for separation.

       (4) If there is a sufficient factual basis for separation, the separation authority will
determine whether separation is warranted following the guidance in Paragraphs 4.1. and 4.2.
Based on that guidance, the separation authority directs:




SECTION 5: PROCEDURES FOR SEPARATION                                                                  41
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-84
                                              73-6        Filed
                                                           Filed03/13/25
                                                                 03/07/25     Page
                                                                              Page43
                                                                                   43of
                                                                                      of64
                                                                                         64

                                                                    DoDI 1332.14, August 1, 2024


           (a) Retention;

           (b) Separation for a specific reason in accordance with Section 3; or

           (c) Suspended separation in accordance with the guidance in Paragraph 5.2.d.

       (5) If the separation authority directs separation or suspended separation based on more
than one reason in accordance with Section 3, the separation authority will designate the most
appropriate basis as the primary reason for reporting purposes.

        (6) If separation or a suspended separation is directed, the separation authority will
assign a service characterization or separation description in accordance with Paragraph 4.3.

        (7) Except when service characterization under other than honorable conditions is
directed or the enlisted Service member is separated based on a void enlistment or induction, the
Secretary of the Military Department concerned may authorize the separation authority or higher
authority to make a recommendation or determination as to whether the respondent should be
retained in the Ready Reserve as a mobilization asset to fulfill their total military service
obligation. This option applies in cases involving separation from active duty or from the
Selected Reserve. Paragraph 5.5. is applicable if such action is approved.


5.3. ADMINISTRATIVE BOARD PROCEDURES.

   a. Notice.

   If an administrative board is required, the respondent will be notified in writing of:

        (1) The basis of the proposed separation, including the circumstances upon which the
action is based and reference to the applicable provisions of the Military Department’s
implementing regulation.

       (2) Whether the proposed separation could result in discharge, release from active duty
to a Reserve Component, transfer from the Selected Reserve to the IRR, release from Service
custody or control, or other form of separation.

       (3) The least favorable service characterization or separation description authorized for
the proposed separation.

       (4) The respondent’s right to consult with counsel as prescribed in Paragraph 5.2.a.(6).
A non-lawyer counsel may not represent a respondent before an administrative board unless:

           (a) The respondent expressly declines appointment of counsel qualified pursuant to
Article 27(b) of the UCMJ and requests a specific non-lawyer counsel; or

           (b) The separation authority assigns non-lawyer counsel as assistant counsel.

        (5) The right to obtain copies of documents that will be forwarded to the separation
authority supporting the basis of the proposed separation. Classified information in such


SECTION 5: PROCEDURES FOR SEPARATION                                                              42
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-84
                                              73-6        Filed
                                                           Filed03/13/25
                                                                 03/07/25     Page
                                                                              Page44
                                                                                   44of
                                                                                      of64
                                                                                         64

                                                                    DoDI 1332.14, August 1, 2024


documents may be provided to the individual in unclassified summarized format. However, any
summaries derived from classified information provided to the individual will be consistent with
U.S. national security interests and other applicable law.

       (6) The respondent’s right to request a hearing before an administrative board.

       (7) The respondent’s right to present written statements instead of board proceedings.

       (8) The respondent’s right to representation at the administrative board either by:

           (a) Military counsel appointed by the convening authority; or

          (b) Military counsel of the respondent’s own choice, if counsel of choice is
determined to be reasonably available under regulations of the Military Department concerned.

       (9) The right to representation at the administrative board by civilian counsel at the
respondent’s own expense.

       (10) The right to waive the rights in Paragraphs 5.3.a.(4) through 5.3.a.(9).

       (11) That failure to respond after being afforded a reasonable opportunity to consult with
counsel constitutes a waiver of the rights in Paragraphs 5.3.a.(4) through 5.3.a.(9).

        (12) That failure to appear without good cause at a hearing constitutes waiver of the right
to be present at the hearing.

   b. Additional Notice Requirements.

       (1) If separation processing is initiated based on more than one reason in Section 3, the
requirements of Paragraph 5.3.a.(1) apply to all proposed reasons for separation.

        (2) If the respondent is in civil confinement, absent without leave, or in a Reserve
Component not on active duty, the relevant notification procedures in Paragraphs 5.4., 5.5., or
5.6. apply.

        (3) Additional notification requirements in Paragraphs 3.3. and 3.4. apply when service
characterization as general (under honorable conditions) is authorized and the enlisted Service
member is processed for separation by reason of convenience of the U.S. Government or
disability.

   c. Response.

    The respondent will be provided a reasonable period, but not less than 2 working days, to act
on the notice. An extension may be granted upon a timely showing of good cause by the
respondent. The decision of the respondent on each of the rights in Paragraphs 5.3.a.(4) through
5.3.a.(9), and applicable provisions referenced in Paragraph 5.2., will be recorded and signed by
the respondent and counsel, subject to these limitations:




SECTION 5: PROCEDURES FOR SEPARATION                                                              43
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-84
                                              73-6         Filed
                                                            Filed03/13/25
                                                                  03/07/25     Page
                                                                               Page45
                                                                                    45of
                                                                                       of64
                                                                                          64

                                                                     DoDI 1332.14, August 1, 2024


        (1) If notice by other than personal means is authorized in accordance with Paragraphs
5.4., 5.5., or 5.6. and the respondent fails to acknowledge receipt or submit a timely reply, that
fact will constitute a waiver of rights and will be documented.

       (2) If the respondent declines to respond as to the selection of rights, such declination
will constitute a waiver of rights and will be documented. If the respondent indicates that one or
more of the rights will be exercised, the selection of rights will be documented.

   d. Waiver.

        (1) If the right to a hearing before an administrative board is waived, the case will be
processed in accordance with Paragraph 5.2.d. regarding notification procedures. The separation
authority in such cases will be an official designated in accordance with Paragraph 5.3.f.

       (2) When authorized by the Secretary of the Military Department concerned, a
respondent entitled to an administrative board hearing may exercise a conditional waiver after a
reasonable opportunity to consult with counsel, in accordance with Paragraph 5.3.a.(4).

   e. Hearing Procedures.

   If a respondent requests a hearing before an administrative board, these procedures are
applicable:

       (1) Composition.

          (a) The convening authority will appoint to the administrative board at least three
experienced commissioned, warrant, or noncommissioned officers.

                1. Enlisted personnel appointed to the board will be in grade E-7 or above and
will be senior to the respondent. At least one member of the board will be serving in the grade of
O-4 or higher, and a majority will be commissioned or warrant officers. The senior member will
be the president of the board.

               2. The convening authority may also appoint a non-voting recorder to the board.

               3. A non-voting legal advisor may be appointed to assist the board if authorized
by the Secretary of the Military Department concerned.

            (b) If the respondent is an enlisted member of a Reserve Component, the board will
include at least one Reserve officer as a voting member. Additionally, all board members will be
commissioned officers if an “under other than honorable conditions” service characterization
from the Reserve Component is authorized to be issued. Voting board members will be senior to
the respondent’s Reserve grade.

           (c) The convening authority will ensure that the opportunity to serve on
administrative boards is given to a demographically diverse representation of Service members.
However, the mere appointment or failure to appoint a member of any particular demographic
group to the board does not provide a basis for challenging the proceeding.


SECTION 5: PROCEDURES FOR SEPARATION                                                                 44
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-84
                                              73-6         Filed
                                                            Filed03/13/25
                                                                  03/07/25     Page
                                                                               Page46
                                                                                    46of
                                                                                       of64
                                                                                          64

                                                                     DoDI 1332.14, August 1, 2024


             (d) The respondent may challenge a voting member of the board or the legal advisor,
if any, for cause only.

       (2) Presiding Officer.

       The presiding officer will preside and rule finally on all matters of procedure and
evidence, but their rulings may be overruled by a majority of the board. If appointed, the legal
advisor will rule finally on all matters of evidence and challenges except their own challenges.

       (3) Witnesses.

          (a) The respondent may request the attendance of witnesses in accordance with the
implementing instructions of the Military Department concerned.

           (b) In accordance with such instructions, the respondent may submit a written request
for temporary duty or invitational travel orders for witnesses. Such a request will contain:

               1. A synopsis of the testimony that the witness is expected to give.

               2. An explanation of the relevance of such testimony to the issues of service
characterization or separation description.

                3. An explanation as to why written or recorded testimony would not be
sufficient to provide for a fair determination of the issues of service characterization or
separation description.

            (c) The convening authority may authorize expenditure of funds for production of
witnesses only if the presiding officer (after consultation with a judge advocate) or the legal
advisor, if appointed, determines that:

               1. The testimony of a witness is not cumulative.

                2. The personal appearance of the witness is essential to a fair determination on
the issues of service characterization or separation description.

               3. Written or recorded testimony will not adequately accomplish the same
objective.

                4. The need for live testimony is substantial, material, and necessary for a proper
disposition of the case.

               5. The significance of the personal appearance of the witness, when balanced
against the practical difficulties in producing the witness, favors production of the witness.
Factors to be considered in relation to the balancing test include, but are not limited to:

                   a. The cost of producing the witness;

                   b. The timing of the request for production of the witness;



SECTION 5: PROCEDURES FOR SEPARATION                                                               45
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS             Document
                                       Document72-84
                                                73-6        Filed
                                                             Filed03/13/25
                                                                   03/07/25    Page
                                                                               Page47
                                                                                    47of
                                                                                       of64
                                                                                          64

                                                                     DoDI 1332.14, August 1, 2024


                     c. The potential delay in the proceeding that may be caused by producing the
witness; or

                 d. The likelihood of significant interference with military operational
deployment, mission accomplishment, or essential training.

            (d) If the convening authority determines that the personal testimony of a witness is
required, the hearing will be postponed or continued if necessary to permit the attendance of the
witness.

           (e) The hearing will be continued or postponed to provide the respondent with a
reasonable opportunity to obtain a written statement from the witness if a witness requested by
the respondent is unavailable:

               1. When the presiding officer or the legal officer, if appointed, determines that
the personal testimony of the witness is not required.

               2. When the commanding officer of a military witness determines that military
necessity precludes the witness’ attendance at the hearing.

                 3. When a civilian witness declines to attend the hearing.

            (f) Paragraph 5.3.e.(3) does not authorize a Federal employee to decline to appear as
a witness if directed to do so in accordance with applicable procedures of the employing agency.

        (4) Record of Proceedings.

           (a) In cases where the board recommends separation, the record of the proceedings
will be kept in summarized form unless a verbatim record is required by the Secretary of the
Military Department concerned.

            (b) In cases where the board recommends retention, a record of the proceedings is
optional unless required by the Secretary of the Military Department concerned. However, a
summarized or verbatim record will be prepared in any case where the board recommends
retention, and the separation authority elects to forward the matter to the Secretary of the
Military Department concerned in accordance with Paragraph 5.3.f.(4)(b)2.

           (c) The board reporter will retain all materials necessary to prepare a transcript
should the separation authority elect to forward the case to the Secretary of the Military
Department concerned.

              (d) In all cases, the findings and recommendations of the board will be in verbatim
form.




SECTION 5: PROCEDURES FOR SEPARATION                                                                46
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-84
                                              73-6         Filed
                                                            Filed03/13/25
                                                                  03/07/25      Page
                                                                                Page48
                                                                                     48of
                                                                                        of64
                                                                                           64

                                                                    DoDI 1332.14, August 1, 2024


         (5) Presentation of Evidence.

       The rules of evidence for courts-martial and other judicial proceedings are not applicable
before an administrative board. However, reasonable restrictions will be observed concerning
relevancy and competency of evidence.

         (6) Rights of the Respondent.

            (a) The respondent may testify in their own behalf, subject to Article 31(a) of the
UCMJ.

            (b) At any time during the proceedings, the respondent or counsel may submit
written or recorded matter for consideration by the board.

            (c) The respondent or counsel may call witnesses in their behalf.

            (d) The respondent or counsel may question any witness who appears before the
board.

           (e) The respondent or counsel may present argument before the board convening in
closed session for deliberation on findings and recommendations.

         (7) Findings and Recommendations.

          (a) The board will determine its findings and recommendations in closed sessions.
Only voting members of the board will be present.

            (b) The board will determine whether each allegation in the notice of proposed
separation is supported by a preponderance of the evidence. If more than one reason was
contained in the notice, there will be a separate determination for each reason.

            (c) The board will make recommendations on:

                1. Retention or separation in accordance with the guidance in Paragraph 4.1.

             2. Suspension of separation. If the board recommends separation, it may
recommend that the separation be suspended in accordance with Paragraph 4.2., but the
recommendation of the board as to suspension is not binding on the separation authority.

                3. Service characterization or separation description. If separation or suspended
separation is recommended, the board will recommend a service characterization or separation
description as authorized in Section 3 in accordance with the guidance in Paragraph 4.3.

               4. Transfer to the Ready Reserve. Except when the board has recommended
service characterization under other than honorable conditions, the Secretary of the Military
Department concerned may authorize the board to make a recommendation as to whether the
respondent should be retained in the Ready Reserve as a mobilization asset to fulfill their total




SECTION 5: PROCEDURES FOR SEPARATION                                                                47
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS            Document
                                      Document72-84
                                               73-6         Filed
                                                             Filed03/13/25
                                                                   03/07/25     Page
                                                                                Page49
                                                                                     49of
                                                                                        of64
                                                                                           64

                                                                     DoDI 1332.14, August 1, 2024


military service obligation. This option applies to cases involving separation from active duty or
from the Selected Reserve. Paragraph 5.5. is applicable if the action is approved.

   f. Separation Authority.

        (1) The separation authority for actions initiated under the administrative board
procedure will be a general court-martial convening authority or higher authority. The Secretary
of the Military Department concerned may also authorize a commanding officer in grade O-7 or
above with a judge advocate or other legal advisor available to their command to act as a
separation authority in specified circumstances.

            (a) When an administrative board recommends service characterization as honorable
or general (under honorable conditions), the separation authority may be exercised by an officer
designated in accordance with Paragraph 5.2.d.

            (b) When the case has been initiated under the notification procedures and the
hearing is a result of a request in accordance with Paragraph 5.2.a.(7), the separation authority
will be as designated in Paragraph 5.2.d.

        (2) In every case in which service characterization under other than honorable conditions
is recommended, the record of the board’s proceedings will be reviewed by a judge advocate or
civilian attorney employed by the Military Department concerned before action by the separation
authority. Such review is not required when another characterization is recommended unless the
respondent identifies specific legal issues for consideration by the separation authority.

      (3) The respondent will be provided a copy of the board’s findings and
recommendations.

        (4) The separation authority will act in accordance with this paragraph, the requirements
in Section 3 with respect to the reason for separation, and the guidance in Section 4 on separation
and characterization.

            (a) If the separation authority approves the recommendations of the board on the
issue of service characterization, separation description, or both, this constitutes approval of the
board’s findings and recommendations in accordance with Paragraph 5.3.e.(7) unless the
separation authority expressly modifies such findings or recommendations.

           (b) If the board recommends retention, the separation authority may:

               1. Approve the recommendation; or

                2. Forward the matter to the Secretary of the Military Department concerned with
a recommendation for separation based upon the circumstances of the case. In such a case, the
Secretary concerned may direct retention or separation. If they approve separation, the service
characterization or separation description will be honorable, general (under honorable
conditions), or an entry-level separation in accordance with the guidance in Paragraph 4.3.




SECTION 5: PROCEDURES FOR SEPARATION                                                                48
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-84
                                              73-6         Filed
                                                            Filed03/13/25
                                                                  03/07/25     Page
                                                                               Page50
                                                                                    50of
                                                                                       of64
                                                                                          64

                                                                     DoDI 1332.14, August 1, 2024


           (c) If the board recommends separation, the separation authority may take one of
these actions:

               1. Approve the board’s recommendations.

             2. Approve the board’s recommendations, but modify the recommendations by,
when appropriate:

                   a. Approving the separation, but suspending execution as provided in
Paragraph 4.2.;

                  b. Changing the service characterization or separation description to a more
favorable characterization or description; or

                   c. Changing the board’s recommendation, if any, concerning transfer to the
IRR.

               3. Disapprove the board’s recommendations and retain the respondent.

                4. Approve the board’s findings and recommendations in whole or in part with
respect to more than one reason in accordance with Section 3, designating the most appropriate
basis as the primary reason for reporting purposes.

                5. Refer the case to a new board if the separation authority finds legal prejudice
to a substantial right of the respondent or determines that the findings of the board have been
obtained by fraud or collusion.

                  a. No member of the new board will have served on a previous board that
considered the case.

                    b. The separation authority may not approve findings and recommendations
less favorable to the respondent than those rendered by the previous board unless the separation
authority finds that fraud or collusion in the previous board is attributable to the respondent or an
individual acting on the respondent’s behalf.


5.4. ADDITIONAL PROVISIONS CONCERNING ENLISTED SERVICE MEMBERS
CONFINED BY CIVIL AUTHORITIES.

    a. If proceedings in this section have been initiated against a respondent confined by civil
authorities, the case may be processed in the absence of the respondent. Paragraph 5.3.a. is not
applicable except in so far as such rights can be exercised by counsel on behalf of the
respondent.

   b. The following requirements apply:

        (1) The notice will contain the matter described in Paragraphs 5.2.a. or 5.3.a. regarding
notice in the notification procedures or administrative board procedures, as appropriate.



SECTION 5: PROCEDURES FOR SEPARATION                                                              49
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-84
                                              73-6         Filed
                                                            Filed03/13/25
                                                                  03/07/25     Page
                                                                               Page51
                                                                                    51of
                                                                                       of64
                                                                                          64

                                                                     DoDI 1332.14, August 1, 2024


           (a) The notice will be delivered personally to the respondent or sent by registered or
certified mail, return receipt requested, or by an equivalent form of formal notice as prescribed in
regulation by the Secretary of the Military Department concerned.

           (b) The enlisted Service member’s contact, acknowledgement, or failure to
acknowledge receipt will be formally documented in their military record as prescribed in the
appropriate Military Department regulation.

        (2) If delivered personally, receipt will be acknowledged in writing by the respondent. If
the respondent does not acknowledge receipt, the notice will be re-sent by registered or certified
mail and failure to acknowledge receipt documented in accordance with Paragraph 5.4.b.(1)(b).

        (3) The notice will state that the action has been suspended until a specific date (not less
than 30 days from the date of delivery) to give the respondent the opportunity to exercise the
rights in the notice. If the respondent does not reply by that date, the separation authority will
take appropriate action in accordance with Paragraph 5.2.d.

        (4) The name and address of the military counsel appointed for consultation will be
specified in the notice.

        (5) If the case involves entitlement to an administrative board, the respondent will be
notified that the board will proceed in the respondent’s absence and that the case may be
presented on the respondent’s behalf by counsel for the respondent.


5.5. ADDITIONAL REQUIREMENTS FOR CERTAIN ENLISTED SERVICE
MEMBERS OF RESERVE COMPONENTS.

   a. Enlisted Service members of Reserve Components not on Active Duty.

     (1) If proceedings have been initiated against an enlisted Service member of a Reserve
Component not on active duty, the case may be processed in the absence of the enlisted Service
member in these circumstances:

           (a) At the request of the enlisted Service member;

            (b) If the enlisted Service member does not respond to the notice of proceedings on
or before the suspense date provided in the notice; or

          (c) If the enlisted Service member fails to appear at a hearing as provided in
Paragraph 5.3.a.(12).

       (2) The notice will contain the matters described in Paragraphs 5.2.a. or 5.3.a., as
appropriate.

       (3) If the action involves a transfer to the IRR under circumstances in which the
procedures in this section are applicable, the procedures in Paragraph 5.5.b. will be followed.




SECTION 5: PROCEDURES FOR SEPARATION                                                              50
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS            Document
                                      Document72-84
                                               73-6         Filed
                                                             Filed03/13/25
                                                                   03/07/25      Page
                                                                                 Page52
                                                                                      52of
                                                                                         of64
                                                                                            64

                                                                      DoDI 1332.14, August 1, 2024


   b. Transfer to the IRR.

   Upon transfer to the IRR, the enlisted Service member will be notified of:

        (1) The service characterization upon transfer from active duty or the Selected Reserve
to the IRR, and that the service characterization upon completion of the military service
obligation will be the same unless specified conditions established by the Secretary of the
Military Department concerned are met.

       (2) The date upon which the military service obligation will expire.

      (3) The date by which the enlisted Service member must submit evidence of satisfactory
completion of the specified conditions.

   c. Notification of Administrative Board.

    If the enlisted Service member submits evidence of completion of the specified conditions
but the Military Department proposes to issue a discharge other than an honorable discharge, the
notification procedure will be used. An administrative board is not required at this point,
notwithstanding the enlisted Service member’s years of service.

   d. Service Expiration.

   If the enlisted Service member does not submit such information on or before the date
specified in the notice, no further proceedings are required. The character of discharge at the
completion of the military service obligation will be the same as the service characterization
upon transfer from active duty or the Selected Reserve to the IRR.

   e. Notice to Member.

   These requirements apply to the notices required by Paragraphs 5.2.a. or 5.3.a.:

        (1) Reasonable effort should be made to furnish copies of the notice to the enlisted
Service member through personal contact by a representative of the command. In such a case, a
written acknowledgment of the notice will be obtained.

        (2) If the enlisted Service member cannot be contacted or refuses to acknowledge receipt
of the notice, the notice will be sent by registered or certified mail, return receipt requested, or by
an equivalent form of formal notice, to the most recent address furnished by the enlisted Service
member as an address for receipt or forwarding of official mail, as prescribed in regulation by
the Secretary of the Military Department concerned. The enlisted Service member’s contact,
acknowledgement, or failure to acknowledge receipt will be formally documented in their
military record as prescribed in regulation by the Secretary of the Military Department
concerned.




SECTION 5: PROCEDURES FOR SEPARATION                                                                51
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-84
                                              73-6         Filed
                                                            Filed03/13/25
                                                                  03/07/25     Page
                                                                               Page53
                                                                                    53of
                                                                                       of64
                                                                                          64

                                                                     DoDI 1332.14, August 1, 2024


5.6. ADDITIONAL REQUIREMENTS FOR ENLISTED SERVICE MEMBERS
BEYOND MILITARY CONTROL BY REASON OF UNAUTHORIZED ABSENCE.

   a. Determination of Applicability.

    If the general court-martial convening authority or higher authority determines that
separation is otherwise appropriate in accordance with this instruction, an enlisted Service
member may be separated without return to military control in one or more of these
circumstances:

       (1) Absence without authority after being sent notice of initiation of separation
processing.

       (2) When prosecution of an enlisted Service member who is absent without authority
appears to be barred by the statute of limitations in accordance with Section 843 of Title 10,
U.S.C.

        (3) When an enlisted Service member who is an alien is absent without leave and
appears to have gone to a foreign country where the United States has no authority to apprehend
the enlisted Service member under a treaty or other agreement.

   b. Notice.

    Before execution of the separation in accordance with Paragraphs 5.6.a.(1), 5.6.a.(2), or
5.6.a.(3), the enlisted Service member will be notified of the imminent action by registered or
certified mail (return receipt requested) or by an equivalent form of formal notice to the most
recent address furnished by the Service member or to the next of kin under the appropriate
Military Department regulations. An individual’s contact acknowledgement, or failure to
acknowledge receipt, is formally documented in their military record as prescribed in their
Military Department’s regulations.

       (1) The notice will contain the matters described in Paragraphs 5.2.a. or 5.3.a., as
appropriate, and will specify that the action has been suspended until a specific date (not less
than 30 days) in order to give the respondent the opportunity to return to military control.

        (2) If the respondent does not return to military control by that date, the separation
authority will take appropriate action in accordance with Paragraph 5.2.d.

   c. Separation Limitations for Reserve Component Enlisted Service Members.

  See Section 12685 of Title 10, U.S.C., for guidance on separation limitations for Reserve
Component enlisted Service members.




SECTION 5: PROCEDURES FOR SEPARATION                                                               52
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-84
                                              73-6         Filed
                                                            Filed03/13/25
                                                                  03/07/25     Page
                                                                               Page54
                                                                                    54of
                                                                                       of64
                                                                                          64

                                                                    DoDI 1332.14, August 1, 2024


5.7. ADDITIONAL REQUIREMENTS FOR ADMINISTRATIVE SEPARATION
PROCESSING TIMELINES.

    a. The Secretaries of the Military Departments will establish a timeline designed to facilitate
the efficient separation of enlisted Service members from their Military Service that is measured
from the date of notification to the date of separation.

       (1) Processing goals should not exceed 15 working days for the notification procedure
described in Paragraph 5.2., and 50 working days for the administrative board procedure
described in Paragraph 5.3.

        (2) While goals of shorter processing times are encouraged, variations may be
established for complex cases or cases in which the separation authority is not located on the
same facility as the respondent.

        (3) Separation processing timeline goals, and the procedures for monitoring
effectiveness, will be established in the Military Departments’ implementing documents.

    b. Failure to process an administrative separation within the prescribed goals will not create
a bar to separation or affect characterization.


5.8. ADDITIONAL REQUIREMENTS FOR INFORMING ENLISTED SERVICE
MEMBERS ABOUT SEPARATION POLICY.

    a. The Secretaries of the Military Departments will prescribe procedures for periodically
informing enlisted Service members about separation policy. This includes:

       (1) Information on the types of separations and the basis for their issuance.

       (2) The possible effects of various actions upon reenlistment, civilian employment,
veterans’ benefits, and related matters concerning denial of certain benefits to enlisted Service
members who fail to complete at least 2 years of an original enlistment.

        (3) The purpose and authority of the Discharge Review Board and the Board for
Correction of Military and Naval Records established pursuant to Sections 1552 and 1553 of
Title 10, U.S.C., DoDD 1332.41, DoDI 1332.28, and Part 70 of Title 32, Code of Federal
Regulations.

    b. The Military Departments will, at a minimum, inform enlisted Service members each time
certain provisions of the UCMJ are explained in accordance with Section 937 of Title 10, U.S.C.
The required information may be provided in the form of a written fact sheet or similar
document.

    c. Explaining the effects of the various types of separations to enlisted Service members is a
command responsibility of the Military Departments, not a procedural entitlement. However,
failure on the part of an enlisted Service member to read or to understand such separation
information will not create a bar to separation or affect service characterization.


SECTION 5: PROCEDURES FOR SEPARATION                                                                53
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS            Document
                                      Document72-84
                                               73-6         Filed
                                                             Filed03/13/25
                                                                   03/07/25     Page
                                                                                Page55
                                                                                     55of
                                                                                        of64
                                                                                           64

                                                                     DoDI 1332.14, August 1, 2024


5.9. ADDITIONAL REQUIREMENTS FOR PRE-SEPARATION HEALTH
ASSESSMENTS.

    a. The Secretary of the Military Department concerned prescribes procedures to ensure
compliance with statutory requirements in accordance with Sections 1145 and 1177 of Title 10,
U.S.C., to conduct a health assessment sufficient to evaluate the health of enlisted Service
members at the time of separation. This assessment should determine any existing medical
condition incurred during active-duty service, provide baseline information for future care,
complete an enlisted Service member’s military medical record, and provide a final opportunity
before separation to document any health concerns, exposures, or risk factors associated with
active-duty service.

       (1) To comply with Section 1177 of Title 10, U.S.C., an enlisted Service member must
receive a medical examination to assess whether the effects of PTSD or traumatic brain injury
(TBI) constitute matters in extenuation that relate to the basis for administrative separation if the
member meets all the following criteria:

          (a) Is being administratively separated under a service characterization that is neither
honorable nor general (under honorable conditions).

           (b) Was deployed overseas to a contingency operation or was sexually assaulted
during the previous 24 months.

           (c) Is diagnosed by a physician, clinical psychologist, psychiatrist, licensed clinical
social worker, or psychiatric advanced practice registered nurse as experiencing PTSD or TBI, or
reasonably alleges the influence of PTSD or TBI based on deployed service to a contingency
operation or a sexual assault during the previous 24 months.

            (d) Is not being separated pursuant to a sentence of a court-martial or other UCMJ
proceeding. Administrative separation in lieu of court-martial does not constitute a court-martial
or other proceeding conducted pursuant to the UCMJ; therefore, compliance with Section 1177
of Title 10, U.S.C., is required.

       (2) To comply with Section 518 of Public Law 112-239, the medical examination
required in Paragraph 5.9.a.(1) will be performed:

           (a) By a clinical psychologist, psychiatrist, licensed clinical social worker, or
psychiatric advanced practice registered nurse for cases involving PTSD.

           (b) By a physician, clinical psychologist, psychiatrist, or other health-care
professional as appropriate for cases involving TBI.

    b. An enlisted Service member receiving a medical examination in accordance with
Paragraphs 5.9.a.(1) and 5.9.a.(2) will not be separated until the examination results have been
reviewed by appropriate authorities responsible for evaluating, reviewing, and approving the
separation case, as determined by the Secretary of the Military Department concerned.




SECTION 5: PROCEDURES FOR SEPARATION                                                               54
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-84
                                              73-6        Filed
                                                           Filed03/13/25
                                                                 03/07/25     Page
                                                                              Page56
                                                                                   56of
                                                                                      of64
                                                                                         64

                                                                   DoDI 1332.14, August 1, 2024


5.10. ADDITIONAL COUNSELING REQUIRED FOR A DISCHARGE UNDER OTHER
THAN HONORABLE CONDITIONS RESULTING FROM A CONTINUOUS,
UNAUTHORIZED ABSENCE OF 180 DAYS OR MORE.

    a. Specific counseling is required regarding Section 5303 of Title 38, U.S.C., which states
that a discharge under other than honorable conditions resulting from a period of continuous,
unauthorized absence of 180 days or more is a conditional bar to benefits administered by the
Department of Veterans Affairs, notwithstanding any action by a Discharge Review Board.

   b. Failure on the part of the enlisted Service member to read or to understand such
explanation does not create a bar to separation or affect characterization.


5.11. ADDITIONAL REQUIREMENTS FOR INVOLUNTARY ADMINISTRATIVE
SEPARATION OF ENLISTED SERVICE MEMBERS WHO MADE AN
UNRESTRICTED REPORT OF SEXUAL ASSAULT.

An enlisted Service member who made an unrestricted report of sexual assault and who is
recommended for involuntary separation from the Military Services within 1 year of final
disposition of their sexual assault case may request a general officer or flag officer (GO/FO)
review of the circumstances of and grounds for the involuntary separation. The notification
process in Paragraph 5.2.a. must include notification of these requirements:

    a. A qualified enlisted Service member must submit their written request to the first GO/FO
in the separation authority’s chain of command before the separation authority approves the
member’s final separation action.

   b. Requests submitted after final separation action is complete will not be acted upon for
GO/FO review. However, the separated enlisted Service member may apply to the appropriate
Service Discharge Review Board or Board of Correction of Military and Naval Records for
consideration.

    c. A qualified enlisted Service member who submits a timely request may not be separated
until the GO/FO conducting the review concurs with the circumstances of and the grounds for
the involuntary separation.


5.12. ADDITIONAL REQUIREMENT TO PROCESS FOR ADMINISTRATIVE
SEPARATION OF ENLISTED SERVICE MEMBERS CONVICTED OF CERTAIN
SEXUAL OFFENSES.

An enlisted Service member whose conviction for rape, sexual assault, forcible sodomy, or an
attempt to commit one of those offenses is final, and who is not punitively discharged in
connection with such conviction, will be processed for administrative separation for misconduct
in accordance with Paragraph 3.10.a.(3).

   a. Any separation decision will be based on the full facts of the case, and due process will be
provided to the enlisted Service member.


SECTION 5: PROCEDURES FOR SEPARATION                                                              55
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-84
                                              73-6         Filed
                                                            Filed03/13/25
                                                                  03/07/25     Page
                                                                               Page57
                                                                                    57of
                                                                                       of64
                                                                                          64

                                                                    DoDI 1332.14, August 1, 2024


    b. The requirement in Paragraph 5.12.a. will not be interpreted to limit or alter the authority
of the Secretary of the Military Department concerned to process enlisted Service members for
administrative separation for other offenses or under other provisions of law.


5.13. ADDITIONAL REQUIREMENT FOR MEMBERS RECEIVING AN OTHER
THAN HONORABLE CHARACTERIZATION OF SERVICE.

   a. In accordance with Section 528 of Public Law 115-91, the Secretary of the Military
Department concerned ensures that enlisted Service members being separated with anything
other than an honorable discharge are informed, in writing, that they may petition the Veterans
Benefits Administration of the Department of Veterans Affairs for certain benefits under the
laws administered by the Secretary of Veterans Affairs, despite their service characterization.

    b. Notification is provided to the enlisted Service member in conjunction with the
notification of the separation, or as soon thereafter as practical.




SECTION 5: PROCEDURES FOR SEPARATION                                                              56
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-84
                                              73-6         Filed
                                                            Filed03/13/25
                                                                  03/07/25    Page
                                                                              Page58
                                                                                   58of
                                                                                      of64
                                                                                         64

                                                                    DoDI 1332.14, August 1, 2024


    SECTION 6: PROCEDURES FOR EARLY RELEASE OF ENLISTED
  SERVICE MEMBERS FOR COLLEGE, VOCATIONAL, OR TECHNICAL
                    SCHOOL ENROLLMENT

6.1. SCOPE.

    a. The Military Services may permit enlisted Service members to further their education at a
college, university, vocational or technical school by approving a discharge or release from
active service before expiration of obligated service.

   b. The provisions of this section cover all enlisted Service members except for:

       (1) Reservists ordered to active duty for training as provided in Section 12103 of Title
10, U.S.C., and reservists ordered to active duty due to unsatisfactory participation in reserve
assignment, as provided in Section 12303 of Title 10, U.S.C.

        (2) Aliens seeking to qualify for citizenship by completion of active-duty military
service unless they are to be transferred to inactive duty in a Reserve Component, as provided in
DoDI 5500.14.


6.2. PROCEDURES.

   a. General.

       (1) Implementation of this section will apply to applicants who meet the criteria of
Paragraph 6.2.b. and under these circumstances:

            (a) Enlisted Service members, including aliens transferred to inactive duty in a
Reserve Component as outlined in DoDI 5500.14, who would be unduly penalized in the pursuit
of their education if required to remain in service until expiration of their term of enlistment or
induction may be released early, subject to meeting all the criteria in Paragraph 6.2.b.

            (b) Separation date will be at the convenience of the U.S. Government but will
normally not be later than 10 days before the class starting date. In no event will the separation
date be earlier than 30 days before such starting date.

        (2) Before separation, enlisted Service members being separated in accordance with this
instruction will be counseled in accordance with DoDI 1332.35.

       (3) The Secretaries of the Military Departments may, in exceptional cases, approve
applications not fully meeting the criteria established in Paragraph 6.2.b.




SECTION 6: PROCEDURES FOR EARLY RELEASE OF ENLISTED SERVICE MEMBERS FOR COLLEGE,
VOCATIONAL, OR TECHNICAL SCHOOL ENROLLMENT                                       57
     Case
     Case1:25-cv-00240-ACR
          2:25-cv-00241-BHS             Document
                                        Document72-84
                                                 73-6         Filed
                                                               Filed03/13/25
                                                                     03/07/25     Page
                                                                                  Page59
                                                                                       59of
                                                                                          of64
                                                                                             64

                                                                        DoDI 1332.14, August 1, 2024


    b. Criteria.

    If the provisions of this section are implemented by a Military Department, the following
criteria should be used in making determinations governing the early release of enlisted Service
members:

       (1) In general, enlisted Service members who will have a Reserve Component obligation
upon separation will not be released under this program until they have completed a minimum of
21 months active duty on their current term of obligated service.

           (2) The individual’s service is not critical to the mission of the assigned organization.

        (3) The latest acceptable class starting date is within the last 3 months of remaining
service.

           (4) Applicants have done one of the following:

            (a) Furnished documentary evidence when applying for separation that they have
been accepted for enrollment, commencing with a specific school term, in a full-time resident
course of instruction at a recognized institution of higher education leading to an associate,
baccalaureate, or higher degree. A recognized institution is one that:

             1. Is listed in the Department of Education’s “Education Directory for Post-
secondary Education”; or

                  2. Has been determined by the Department of Education to be eligible for such
listing.

            (b) Presented documentary evidence when applying for separation that they have
been accepted for enrollment, commencing with a specific school term, in a full-time resident
course of instruction of no less than 3 months at a recognized vocational or technical school. A
recognized school is one that is approved by the cognizant State Board for Vocational Education
or is accredited by a nationally recognized accrediting agency or association listed by the
Department of Education.

      (5) The applicant has demonstrated their ability and willingness to make the required
payment of an entrance fee, if any, if they have not already done so.

       (6) The applicant has clearly established that the specific school term for which they
seek separation is academically the most opportune time to begin or resume education and that
delay of enrollment until normal expiration of service would cause undue handicap.




SECTION 6: PROCEDURES FOR EARLY RELEASE OF ENLISTED SERVICE MEMBERS FOR COLLEGE,
VOCATIONAL, OR TECHNICAL SCHOOL ENROLLMENT                                       58
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS           Document
                                     Document72-84
                                              73-6           Filed
                                                              Filed03/13/25
                                                                    03/07/25    Page
                                                                                Page60
                                                                                     60of
                                                                                        of64
                                                                                           64

                                                                     DoDI 1332.14, August 1, 2024


                                          GLOSSARY

G.1. ACRONYMS.

 ACRONYM                   MEANING

 ASD(M&RA)                 Assistant Secretary of Defense for Manpower and Reserve Affairs

 DEP                       Delayed Entry Program
 DoDD                      DoD directive
 DoDI                      DoD instruction
 DTM                       directive-type memorandum

 ESP                       expedited screening protocol

 GO/FO                     general officer or flag officer

 IRR                       Individual Ready Reserve

 PTSD                      post-traumatic stress disorder

 TBI                       traumatic brain injury

 UCMJ                      Uniform Code of Military Justice
 U.S.C.                    United States Code


G.2. DEFINITIONS.

Unless otherwise noted, these terms and their definitions are for the purposes of this instruction.

 TERM                      DEFINITION

 alien                     Any person not a citizen or national of the United States.

 commander                 A commissioned or warrant officer who, by virtue of rank and
                           assignment, exercises primary command authority over a military
                           organization or prescribed territorial area that, under pertinent official
                           directives, is recognized as a “command.”

 conditional waiver        A statement initiated by a respondent waiving the right to a board
                           proceeding contingent upon receiving a service characterization or
                           separation description higher than the least favorable characterization
                           or description authorized for the basis of separation in the notice to
                           the respondent.



GLOSSARY                                                                                           59
   Case
   Case1:25-cv-00240-ACR
        2:25-cv-00241-BHS       Document
                                Document72-84
                                         73-6         Filed
                                                       Filed03/13/25
                                                             03/07/25     Page
                                                                          Page61
                                                                               61of
                                                                                  of64
                                                                                     64

                                                               DoDI 1332.14, August 1, 2024


TERM                  DEFINITION

convening authority   The separation authority, or a commanding officer who has been
                      authorized by the Secretary of the Military Department concerned to
                      process a case, except for final action, and who otherwise has the
                      qualifications to act as a separation authority.

discharge             Complete severance from all military status gained through
                      enlistment or induction.

domicile              Legal residence.

dropped from the      A type of release from military service that may be used to separate
Service rolls         enlisted Service members who are away without official leave for 30
                      days or more and reported as a deserter; or enlisted Service members
                      who are confined by civilian authorities for at least 6 months.

enlisted Service      A Service member serving in an enlisted grade of E-1 through E-9.
member

entry-level status    Upon enlistment, a Service member qualifies for entry-level status
                      during the first 365 days of continuous active military service; or the
                      first 365 days of continuous active service after a service break of
                      more than 92 days of active service.

                         A Service member of a Reserve Component who is not on active
                      duty or who is serving under a call or order to active duty for 365
                      days or less begins entry-level status upon enlistment in a Reserve
                      Component. Entry-level status for such a Service member of a
                      Reserve Component terminates:

                              If the Service member is ordered to active duty for training
                      for one continuous period of 180 days or more, 365 days after
                      beginning training; or

                             If the Service member is ordered to active duty for training
                      under a program that splits the training into two or more separate
                      periods of active duty, 180 days after the beginning of the second
                      period of active-duty training.

                          For the purposes of characterization of service or description of
                      separation, the Service member’s status is determined by the date of
                      notification as to the initiation of separation proceedings.

ESP                   Defined in DTM-19-008.




GLOSSARY                                                                                      60
   Case
   Case1:25-cv-00240-ACR
        2:25-cv-00241-BHS       Document
                                Document72-84
                                         73-6         Filed
                                                       Filed03/13/25
                                                             03/07/25    Page
                                                                         Page62
                                                                              62of
                                                                                 of64
                                                                                    64

                                                               DoDI 1332.14, August 1, 2024


TERM                   DEFINITION

military record        An individual’s overall performance while a Service member,
                       including personal conduct and performance of duty.

release from active    Termination of active-duty status and transfer to a Reserve
duty                   Component not on active duty, including transfer to the IRR.

respondent             An enlisted Service member who has been notified that action has
                       been initiated to separate them from active-duty military service.

separation             A general term that includes discharge, release from active duty,
                       release from Service custody and control, transfer to the IRR, and
                       similar changes in active or Reserve status.

separation authority   An official authorized by the Secretary of the Military Department
                       concerned to take final action with respect to a specified type of
                       separation.

Service member         An enlisted, warrant officer, or commissioned officer.

sexual assault         Defined in Volume 1 of DoDI 6495.02

sexual offense         Rape, sexual assault, forcible sodomy, or an attempt to commit one
                       or more of these offenses.




GLOSSARY                                                                                    61
    Case
    Case1:25-cv-00240-ACR
         2:25-cv-00241-BHS         Document
                                   Document72-84
                                            73-6       Filed
                                                        Filed03/13/25
                                                              03/07/25    Page
                                                                          Page63
                                                                               63of
                                                                                  of64
                                                                                     64

                                                                DoDI 1332.14, August 1, 2024


                                      REFERENCES
American Psychiatric Association’s Committee on Nomenclature and Statistics, “Diagnostic and
   Statistical Manual of Mental Disorders,” current edition
Code of Federal Regulations, Title 32
Directive-type Memorandum 19-008, “Expedited Screening Protocol (ESP),” July 31, 2019,
   as amended
DoD Directive 1332.41, “Boards for Correction of Military Records (BCMRs) and Discharge
   Review Boards (DRBs),” March 8, 2004, as amended
DoD Directive 1344.10, “Political Activities by Members of the Armed Forces,”
   February 19, 2008
DoD Directive 5124.02, “Under Secretary of Defense for Personnel and Readiness
   (USD(P&R)),” June 23, 2008
DoD Instruction 1010.01, “Military Personnel Drug Abuse Testing Program (MPDATP),”
   September 13, 2012, as amended
DoD Instruction 1215.13, “Ready Reserve Member Participation Policy,” May 5, 2015
DoD Instruction 1300.04, “Inter-Service and Inter-Component Transfer of Service Members,”
   July 25, 2017
DoD Instruction 1300.06, “Conscientious Objectors,” July 12, 2017
DoD Instruction 1304.26, “Qualification Standards for Enlistment, Appointment, and Induction,”
   March 23, 2015, as amended
DoD Instruction 1308.03, “DoD Physical Fitness/Body Composition Program,” March 10, 2022
DoD Instruction 1315.15, “Separation Policies for Survivorship,” May 19, 2017
DoD Instruction 1332.18, “Disability Evaluation System,” November 10, 2022
DoD Instruction 1332.28, “Discharge Review Board (DRB) Procedures and Standards,”
   April 4, 2004
DoD Instruction 1332.35, “Transition Assistance Program (TAP) for Military Personnel,”
   September 26, 2019
DoD Instruction 1336.01, “Certificate of Uniformed Service (DD Form 214/5 Series),”
   February 17, 2022
DoD Instruction 5200.02, “DoD Personnel Security Program (PSP),” March 21, 2014, as
   amended
DoD Instruction 5500.14, “Naturalization of Aliens Serving in the Armed Forces of the United
   States and of Alien Spouses and/or Alien Adopted Children of Military and Civilian
   Personnel Ordered Overseas,” January 4, 2006
DoD Instruction 6490.04, “Mental Health Evaluations of Members of the Military Services,”
   March 4, 2013, as amended
DoD Instruction 6495.02, Volume 1, “Sexual Assault Prevention and Response: Program
   Procedures,” March 28, 2013, as amended
DoD Instruction 7730.68, “Uniformed Services Human Resources Information System,”
   September 1, 2023



REFERENCES                                                                                 62
       Case
       Case1:25-cv-00240-ACR
            2:25-cv-00241-BHS           Document
                                        Document72-84
                                                 73-6   Filed
                                                         Filed03/13/25
                                                               03/07/25    Page
                                                                           Page64
                                                                                64of
                                                                                   of64
                                                                                      64

                                                                 DoDI 1332.14, August 1, 2024


Manual for Courts-Martial, United States, current edition
National Center for Education Statistics of the Department of Education, “Education Directory
   for Post-secondary Education,” current edition 1
Public Law 112-239, Section 518, “National Defense Authorization Act for Fiscal Year 2013,”
   January 2, 2013
Public Law 115-91, Section 528, “National Defense Authorization Act for Fiscal Year 2018,”
   December 12, 2017
United States Code, Title 10
United States Code, Title 38, Section 5303




1
    Available at https://nces.ed.gov/


REFERENCES                                                                                  63
